Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 1 of 107 PagelD #:2401

EXHIBIT A
Err ayy
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1 A. Yes. 1 Q. When did you have that conversation
2 Q. Okay. 2 that you asked -- or when did you ask him about the
3 A. A and B are for the females. 3 phone call?
4 Q. And you told me earlier that Spann was 4 A. Right when he came in, When he said
5 the only male arrestee that was being housed at the 5 "this is bullshit," [ said, “you're going to make a
6 11th at the time when you got there? 6 phone call?" "No, man." "All right, come on, let's
7 A. [believe so, yes. 7 go to your cell."
8 Q. Okay. Now, when you were walking 8 Q. Anything else you recall him saying?
9 Lumar into E2 or down the cell block, was he still 3 A. No
10 ticked off, for lack of a better word, saying "this 10 Q. When you took Lumar into his cell, did
11 is bullshit"? 11 you have any conversation with Erik Spann or did
12 A. He stopped talking after he came -- 12 Erik Spann say anything or yell out anything?
13 like, when we started walking down the cell block, 13 A. No.
14 he didn't say anything else to me. 14 Q. When you're sitting at the 11th -- or
15 Q. So did you have any conversation at 15 strike that.
16 all with Lumar at any time after calming him down 16 When you're sitting at the desk in
17 after he said "this is bullshit"? 17 lockup, would you be able to overhear conversations
18 A. No. 18 between inmates that are in the cells?
19 Q. And you said you got him into his cell 19 MS. DAVENPORT: Objection, incomplete
20 within five minutes? 20 hypothetical, calls for speculation.
21 A. Yes. 21 BY MS. O'CONNOR:
22 Q. Did he at any time ask to make a phone 22 Q. You can answer.
23 call? 23 A. I mean, if they are talking loud,
24 A. Jasked him. He said no. 24 yeah. If they are just having a normal, like,
Page 83 Page 84
1 conversation like we are now, no. 1 key.
2 Q. Okay. The current video surveillance 2 Q. Where is that typically kept?
3 system, is there audio on that? 3 A. At the desk.
4 A. No. 4 Q. And specifically, what was Tyler Lumar
5 Q. And I think you told me this, but it's 5 hanging from?
6 the custom and practice that each arrestee gets its 6 A. — His tank top or his shirt.
7 own cell until you start to get too many? 7 Q. Was his shirt on his person, or had he
8 A. We don't have to give them their own 8 taken it off?
9 cell. That's just how we do it. 9 A. He had taken it off, tied it to the
10 Q. And that was how you did it in 2016? 10 bars, and he had tied it around his neck.
il A. Correct. 11 Q. Which bar did he tie it to?
12 Q. Allright. When was the next time you 12 A. I don't know what you're asking.
13 had contact with Tyler Lumar? 13 Q. Well, what did he tie the shirt to
14 A. When I cut him down and started CPR on 14 specifically in the cell?
15 him. 15 A. The bars. T mean, J don't --
16 Q. How were you alerted to the fact that 16 Q. The bars that open and shut the cell?
1? he was hanging? 17 A. No. It's a stationary one, stationary
18 A. Chuck was doing 15-minute checks and 18 bar.
19 he yelled out my name and when I looked down the 19 Q. Okay. I think I'm going to have to
20 cell block and said "what's up," he said, "this guy 20 get a picture. [ have to go print that out real
21 is hanging,” so I grabbed a key, went down there, 21 quick. But before I do, let me just keep going
22 and, yeah, he was hanging. 22 through these questions.
23 Q. When you say "key," what key? 23 A. So, like, there's a gate that opens
24 A. The cell block key. Or the cell door 24 and then there's the bars that are stationary. He

 

 

BUCHANAN REPORTING,
312-670-0900

21 (Pages 81 to 84)
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1 hung it up on the stationary ones. 1 that we keep locked, so it's right back there. We
2 Q. Okay. So he would have been 2 all -- each of us have our own little cabinet or
3 shirtless, correct? 3 locker or drawer
4 A. I don't remember if he had, like, a 4 Q. Are you allowed to carry a weapon?
9 tank top on or used a shirt. I know it was one of a A. No
6 the shirts, though. 6 Q. So would that include knives?
7 Q. Do you recall if he had his shoes on 7 A. Right. That's why I don't carry it
8 or off? 8 with me.
9 A. I believe they were on. 9 Q. Is there some Chicago Police
10 Q. Did you observe any blood or vomit 10 Department-issued weapon or utility that you have at
11 when you first arrived at the scene? li the | 1th District to cut down people that hang
12 A. No. 12 themselves?
13 Q. Now, you said that you had actually 13 A. — Scissors,
14 physically cut him down, correct? 14 Q._ Scissors?
ES A. Correct. 15 A. T mean, that's the only thing we have
16 Q. What did you use to cut him down? 16 in our lockup that we could have used besides a
17 A. A pocketknife. 17 pocketknife.
18 Q. Is that something you just typically 18 Q. When you went through your training,
19 keep on your person? 19 were you trained on that at all, what to do in the
20 A. No. [had to run to my locker and 20 case that you found an arrestee hanging from their
21 grab it. 21 cell?
22 Q. And where is your locker? 22 A. Yeah. I mean, they just told us we
23 A. It's in the lockup. So, like, in our 23 had to call up front, notify them, and try to get
24 lockup there's, like, a little back office thing 24 something to bring them down with.
Page 87 Page 88
dl Q. So the scissors that you're cl Lumar before you cut him down. Like, when you first
2 referencing, is it just typical scissors or is it 2 arrived did he appear to be responsive in any way?
3 some special scissors that's here in case, you know, 3 A. No.
4 you find this -- 4 Q. Were his eyes open or shut?
5 A. Oh. The ones that they have back 5 A. They were shut.
6 there were just regular scissors for us to cut up 6 Q. Was he making any noises at all?
uj stuff with. 7 A. No noises.
8 Q. Allright. So you had to go back to 8 Q. How long after you brought Lumar into
3 your locker to get your pocketknife. Does your 9 the lockup was it that Charles Barry yelled for you?
10 locker have a physical lock on it? 10 A. [ want to say it was almost like ten
11 A. Yeah. Well, it’s -- yeah. abit minutes
12 Q. Like an old school -- 12 Q. What happened after you cut him down?
13 A. It's a Master lock, but it's not key 13 Did you hold him when you were cutting him? Did he
14 or combo, it's a directional so it's quicker. 14 fall to the floor?
15 Q. Okay. So approximately how long did 15 A. Well, I ended up picking up his body
16 it take you to run from the cell to the locker? 16 while Chuck used the knife to cut it, the shirt.
17 A. Oh, it was under a minute, 17 Q. Okay. So you handed the knife to
18 Q. Do you recall physically what he did 18 Chuck and he physically cut it?
19 with the shirt in terms of, like, how many knots 19 A. Uh-huh
20 there were, whether he ripped it, anything like 20 Q. Is that ayes?
21 that? 21 A Yes,
22 A. No, [ wasn't worried about that. T 22 Q. Okay. At this point when you are
23 was worried about trying to help him out. 23 holding up or picking up his body or at any time up
24 Q. Tell me about your observations of 24 until the point that he was transported to the

 

 

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22 (Pages 85 to 88)
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EXHIBIT B
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1 desk sergeant. 1 according to page 2, from 9:45 up until 11:15 on
2 Q. Okay. Did you search Tyler Lumar when 2 August 19th; is that correct?
3 he returned from Cook County Jail? 3 A. Yes.
4 A. No. 4 Q. And there's an entry, sir, where it
5 Q. Do you know if anyone did? 5 says, "At 11:15, unconscious." Do you see where I'm
6 A. I don't know. 6 reading?
7 Q. What did you do after you delivered 7 A. That's an additional comment?
8 the paperwork to the desk sergeant? 8 Q. Right here, sir.
9 A. Came back to the lockup. 9 A, Oh, yeah. And that's the CB number,
10 Q. What did you do after you came back to 10 so that's who it is.
11 the lockup? 11 Q. That number, 19358301, is Tyler
12 A. I don't remember. 12 Lumar's CB number?
13 Q. When was the next time -- strike that. 13 A. Correct.
14 By the time you came back to the 14 Q. Okay. Now, did you write that word,
15 lockup, was Lumar already in the cell? 15 “unconscious,” and then his CB number?
16 A. Yes. 16 A. Yes.
17 Q. When was the next time you saw Lumar? 17 Q. Why did you write that?
18 A. On my checks. 18 A. Because he was unconscious.
19 Q. When you say “on my checks," what do 19 Q. Okay, So this entry that you have the
20 you mean? 20 word "unconscious," that pertains to the point at
21 A. The times that I sign the book. Zn which you discovered Lumar unconscious in his cell;
22 Q. And referring back to Exhibit 49. 22) is that correct?
23 A. Right. 23 A. Yes,
24 Q. You had performed the checks, 24 Q. Prior to observing Lumar unconscious
Page 83 Page 84
1 in the cell, did you observe him at any other time 1 you documented it, unconscious. But how did you
2 after you came back into the lockup after you 2, find him initially? Was he hanging?
3 delivered the paperwork to the desk sergeant? 3 A. At that time.
4 A. On my checks. 4 Q. Okay. So that's what I want to know,
2 Q. Okay. So you had seen Lumar during 5 sir. I want to know about the cell check that you
6 your checks before he was found unconscious? 6 were performing when you first discovered that there
7 A. Correct. 7 was a problem with Lumar. What did you see when you
8 Q. Do you know how many checks you had 8 first came to the cell?
9 performed of Lumar before you found him unconscious? 9 A. I seen him hanging.
10 A. I don't remember. 10 Q. Okay. Specifically where was he
ii Q. Okay. Can you tell me what -- strike 11 hanging?
12 that. 12 A. Meaning?
13 In the checks that you performed le Q. Can you describe where he was hanging
14 before you found him unconscious, do you recall 14 at? If you had to tell me as if I had never been
15 anything about your observations of Lumar? 15 there.
16 A. No. 16 A. I don’t remember.
17 Q. Can you tell me what you do recall 17 Q. Was he hanging from the cell, the
18 specifically when you found him, quote, unconscious? 18 bars?
19 A. I don't understand the question. 19 A. Yes
20 Q. Sure. Well, ['m just trying to direct 20 Q. Do you recall what he was wearing?
21 your attention to this entry. rik A. No.
22 A. Right. 22 Q. Was there anyone else in the cell with
23 Q. Tell me what you recall when you 23 him?
24 performed your check and you found Tyler Lumar, as 24 A. No.

 

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21 (Pages 81 to 84)
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1 Q. Do you recall how he was hanging from iy A. No. I cut whatever he was hanging
2 the cell, with what instrumentality or what -- how 2 with.
B did he -- 3 Q. Did you have something on your person
4 A. I don't remember. 4 that you were able to cut him down?
5 Q. Okay. Do you recall what you did 5 A. Yes.
6 after you found him hanging? 6 Q. What was that?
7 A. I called for my two coworkers, 7 A. Aknife.
8 Q. When you say call, was that, like, you 8 Q. Like a pocketknife?
9 screened or over a radio? 9 A. Yes.
10 A. Verbally to bring a key because they 10 Q. And who came with the keys?
11 have to unlock the cell. 11 A. IT don't remember which one. It was --
12 Q. Okay. As the detention aide, did you 12 I work with two other people. Somebody had the
13 have keys on you that could unlock the cell? as} keys. Someone held him while I cut him down.
14 A. We have keys at the desk. 14 Q.  Alfright. So someone held up his
15 Q. Like, one main set? 15 body while you cut him down?
16 A. Yeah. 16 A. Yes.
ae Q. And who -- the two coworkers, who ali? Q. What did you do after you cut him
18 were they that were working with you that day? 18 down?
19 A. John Granat and then the other John. 19 A. I let the desk sergeant know what was
20 What was his name? 20 going on.
21 Q. John Errum? 21 Q. Do you recall who that was?
22 A. Errum. 22 A. No, I don't.
23 Q. Allright. And did you —- when you 23 Q. Did you -- were you involved in
24 first came upon Lumar, did you touch him in any way? 24 performing any CPR on Lumar?
Page 87 Page 88
1 A. No. A female named Brigid. She was 1 how to perform CPR?
2 working on the female side, and she performed mouth 2 A. Yes.
3 to mouth on him until the paramedics got there. 3 Q. Is there any reason why you didn't do
4 Q. Were you still at the scene when the 4 it?
5 paramedics arrived? 5 MS. DAVENPORT: Object to the form of
6 A. Yes. 6 the question.
7 Q. Did you have any discussions with the 7 BY THE WITNESS:
8 paramedics? 8 A. No. I don't know.
9 A. No. 9 BY MS. O'CONNOR:
10 Q. Do you recall how many checks you 10 Q. When you cut him down, it sounds like
11 performed on Lumar before you found him hanging? 11 you don't remember specifically what other detention
12 A. I don't remember. 12 aide was with you, but there was --
13 Q. Was Sergeant Dan McCall present? 13 A. Thad two coworkers.
14 A. He was in the garage. 14 Q. They were both there at that point?
15 Q. Did you go and get him? 15 A. Right. Well, Gartner, he's CPD.
16 A. I don't remember, but he was the first 16 Q. Meaning he's a police officer?
17 sergeant on the scene. 17 A. Right.
18 Q. When you say "on the scene," you mean 18 Q. When you first saw Lumar hanging, did
19 by the cell where you found Lumar? 19 you hear him make any noises?
20 A. Right. 20 A. I don't recall.
21 Q. Was Brigid already at the cell by the 21 Q. Did you see any vomit in the cell?
22 time you cut Lumar down? 22 A. I don't recall. I was just trying to
23 A. No. 23 get him down.
24 Q. On August 19th of 2016, did you know 24 Q. Do you recall seeing any blood in the

 

 

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22 (Pages 85 to 88)
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EXHIBIT C
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1 had other officers to deal with. And at some point, 1 this point? 1
2 I believe it was Sergeant McCall came up to the desk 2 A. He was on the ground. |
3 and said, we need you in the lockup now, bring the 3 Q. And who, if anyone else, was within,
4 AED. Then I knew something was a little more 4 you know, feet of Lumar when you first arrived at
5 serious. 5 him?
6 Q. So when you recalled Barry calling the 6 MS. RYAN: Objection, form.
7 desk, was that from a phone? 7 BY THE WITNESS: 1
8 A. From the phone, yes. 8 A. Barry, McCall, myself. I don't know
9 MS. RYAN: Objection, foundation. 9 who else. Whoever else was working in the lockup —_ |!
10 BY MS. O'CONNOR: 10 was probably there.
11 Q. And, like, the lockup phone? 11 BY MS. O'CONNOR:
12 A. Just a phone that is in the lockup, 12 Q. Do you recall hearing any noises by
13 call the desk. 13 Lumar at any time when you got to his cell up until
14 Q. So you were actually sitting in the 14 the point that he left with the EMS?
15 main desk at this point? 15 MS. RYAN: Objection, form. |
16 A. I was sitting in the front of the 16 BY THE WITNESS:
17 station nowhere near the lockup. 17 A. No.
18 Q. Got it. Allright. So the first call 18 BY MS. O'CONNOR:
19 that you received from Detention Aide Barry simply 19 Q. Did you at any time administer CPR?
20 said, we need you in the lockup, but he didn't 20 A. No.
21 indicate why? 21 Q. Did you observe anyone administer CPR?
22 A. No. 22 A. No. Unless the fire department did.
23 Q. Is that correct? 23 Q. Do you know who called the fire
24 A. That's correct. 24 department?
Page 74 Page 76
1 Q. Okay. Then you continued to process 1 A. I believe it was Sergeant McCall.
2 the inventory and do the other things that -- 2 Q. And do you know how he called them,
3 A. Doing my desk duties, yes. 3 meaning through dispatch --
4 Q. And then approximately how long later 4 A. On the radio.
5 was it that Sergeant McCall called? 5 Q. Okay. And when you say "on the
6 A. Sergeant McCall physically came up and. 6 radio," that's through dispatch?
7 got me about a minute later. 7 A. Police radio, through dispatch,
8 Q._ Did you grab the AED? 8 dispatch and ambulance to the lockup.
9 A. _ It's right behind the desk, right 9 Q. Does that go through OEMC?
10 behind my desk. 10 A. Yes.
11 Q. So did you grab it? 11 Q. Did you see any blood at the scene?
12 A. Yes, I did. 12 MS. RYAN: Objection to form.
13 Q. Why don't you tell me what you did 13 BY THE WITNESS:
14 after Sergeant McCall physically came to get you at 14 A. I don't recall if there was or not.
15 the desk. 15 BY MS. O'CONNOR:
16 A. Grabbed the AED, we went in the 16 Q. Do you recall if there was any vomit?
17 lockup, we saw Mr. Lumar, we put the electrodes from 17 A. Jdon'trecall.
18 the AED on there, followed the instructions, said do 18 Q. Approximately how fong were you at the
19 not shock, we did not, we waited for the CFD 19 scene until EMS arrived?
20 ambulance to show up, and they did whatever they 20 A. They were there within a minute or
21 did. 21 two.
22 Q. Okay. At the point that you got to 22 Q. And after EMS arrived, what did you
23 the scene or got to the cell with Sergeant McCall, 23 do?
24 was Lumar still hanging, or was he on the ground at 24 A. Secured the lockup, went back up to

 

 

BUCHANAN REPORTING,
312-670-0900

19 (Pages 13, to 76)
INC.

PLAINTIFF’S

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EXHIBIT D
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 10 of 107 PagelD #:2410

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Virginia M. Kendall
THE CITY OF CHICAGO, et. al,

LISA ALCORN, as Independent )
Administrator of the Estate of )
TYLER LUMAR, )
)
Plaintiff, ) No. 17 C 5859
)
Vv. ) Honorable Judge
)
)
)
)

Defendants.

NOTICE OF DEPOSITION PURSUANT TO FRCP 30(b)(6)

YOU ARE HEREBY NOTIFIED that, pursuant to Rule 30(b)(6) of the F.R.Civ.P., the
Plaintiff, LISA ALCORN as Independent Administrator of the Estate of TYLER LUMAR, shall
take the deposition upon oral examination of the Defendant, CITY OF CHICAGO, through
one or more officers, directors, agents or other representatives who shall be designated to
testify on the City of Chicago’s behalf regarding all information known or reasonably
available to the City of Chicago with respect to the following subject matters:

1) The procedure and/or policy of the Chicago Police Department as to how Police Officers and
Detention Aides should respond when an arrestee/prisoner is found to have attempted suicide

in a lockup or detention facility including, but not limited to, hanging by a ligature around
their neck.

2) The Chicago Police Department’s training of Police Officers and Detention Aides as to:
a) Suicide Prevention.
b) Screening of arrestee/prisoners for suicide risk.
c) Identification of arrestee/prisoner who pose a suicide risk.

d) Rendering first aid to injured arrestee/prisoners including, but not limited to, individuals
who attempted suicide by hanging by a ligature around their neck.

PLAINTIFF’S
j EXHIBIT

2D

 
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3) The Chicago Police Department’s provision of “cut-down” tools also known as “911 rescue
knives,” or any other devices or implements facilitate the rescue of arrestee/prisoners, to
Chicago Police Officers and Detention Aides assigned to guard arrestee/prisoners in Chicago
Police Department lockups and detention facilities.

4) The City of Chicago’s compliance with the Illinois Administrative Code, Municipal Jail and
Lockup Standards, Ill. Admin. Code tit. 20, § 720 et. seq.

Plaintiff requests that the City of Chicago provide written notice at least five (5)
business days before the deposition of the name(s) and employment position(s) of the
individual(s) designated to testify on the City of Chicago’s behalf.

This deposition shall commence on August 17, 2020 at 19 S. LaSalle St. Suite
1200, Chicago, IL 60622, or at a date available for all parties and shall be taken before a
duly certified court reporter and notary public or other person authorized by law to

administer oaths. The deposition will be recorded by stenographic means.

Dated: July 31, 2020 Respectfully Submitted,

By:  /s/ Eileen M. O’Connor
Eileen M. O’Connor, # 06290372
O'CONNOR LAW GROUP LLC
19 S. LaSalle, Suite 1900
Chicago, IL 60603

(312) 236-1814
eoc@oconnorlawgrp.com

CERTIFICATE OF SERVICE

Under penalties as provided by law, the undersigned certifies that copies of the above were served

on the above parties via electronic mail to all attorneys of record prior to 5:00 p.m. on July 31,
2020

s/Eileen M. O’ Connor
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EXHIBIT E
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 13 of 107 PagelD #:2413

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

LISA ALCORN, as Plenary Guardian of the )
Estate and Person of TYLER LUMAR )
)
Plaintiff, )

v. ) No. 17 CV 5859
)
THE CITY OF CHICAGO, a Municipal )
Corporation, et al., )
)
Defendants, )

NOTICE OF DEPOSITIONS

 

TO; Attorneys of Record - See Attached Service List

PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure Rule 30, we will
take the depositions of the following individuals, on the following dates:

Deponent Date

Daniel Warren April 25, 2019@10:00 a.m,
Carolos Vega April 25, 2019@1;00 p.m.
Corina Esteban April 25, 2019@3:30 p.m.
Kevin Geyer April 26, 2019@10:00 a.m.
Jonathan Errum April 26, 2019@1:00 p.m.

The depositions shall take place at the O’Connor Law Group LLC, 140 S. Dearborn Street, Suite
320, Chicago, Illinois, 60603. The depositions shall be recorded stenographically.

Dated: March 19, 2019
Respectfully Submitted,

By:  /s/ Eileen M, O’Connor
Eileen M, O’Connor, # 06290372
O'CONNOR LAW GROUP LLC
140 S, Dearborm, Suite 320
Chicago, IL, 60603
(312) 236-1814
eoe(Moconnorlawerp.com

PLAINTIFF'S
} EXHIBIT

 
 

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RE: Alcorn v. City of Chicago
Court No. 17 CV 5859

SERVICE LIST

ATTORNEY FOR CITY OF CHICAGO
Terrence M, Burns
Elizabeth Ekl
Paul Michalik
Daniel M. Noland
Katherine C. Morrison
Daniel J. Burns
Reiter Burns LLP
311 S. Wacker Drive, Suite 5200
Chicago, IL 60606
312- 982- 0090
ab d q a
Seidl @itelterburns.com
pmichalik@reiterburns. com
dnoland@reiterburns. com
n(@reiterburns,cony

 

 

AbrocnalSive imtliowas com

ATTORNEY FOR DANIEL WARREN, CARLOS VEGA,
JAMES JONES, ALAN LASCH, CORRINA ESTEBAN,
"DO LL ONATHAN ERR
Elaine C. Davenport
Sanchez Daniels & Hoffman, LLP
333 W. Wacker Drive, Suite 500
Chicago, IL 60606
312-641-1555
312-641-3004 (fax)
EDavenport(@SanchezDH.com

 

LAT WIS: 0 TAPIA

John Power : .
Jenna Ann McMahon
Cook County State’s Attorney’s Office
50 W. Washington Street
Chicago, IL 60602
312-603-4370 — John Power
312-603-4327 — Jenna McMahon

hn.P ikea

John.Power@cookcountyil. gov
Jenna, MeMahon@cookcountyil.gov
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EXHIBIT F
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 17 of 107 PagelD #:2417

 

City of Chicago JASON MARX

Rahm Emanuel, Mayor Assistant Corporation Counsel
Federal Civil Rights Litigation

Department of Law 30 North LaSalle, Suite 900

Edward Siskel Chicago, Illinois 60602

Corporation Counsel (312) 744-1975

Jason, marx@cityofchicago.org,

November 17, 2017

Eileen M. O’Connor
O’Connor Law Group LLC
140 S. Dearborn, Suite 320
Chicago, IL 60603

Kevin Kocim

Assistant State's Attorney

Civil Rights Section

Cook County State's Attorney's Office
500 Daley Center

Chicago, Illinois 60602

Devlin Schoop, Senior Counsel

Shawn Barnett, Assistant Corporation Counsel
Allison Romelfanger, Assistant Corporation Counsel
City of Chicago, Department of Law

30N. LaSalle Street, Suite 900

Chicago, Illinois 60602

Re: Lisa Alcorn v. City of Chicago, et al., 17 C 5859
Counsel,

Enclosed please find Defendants’ Responses to Mandatory Initial Discovery with a CD
containing bate stamped documents FCRL 1-2664. Thank you:

Sincerely,

‘sf Jason Marx
Jason Marx
Assistant Corporation Counsel

 

Enclosures as above

PLAINTIFF’S

j "F

 
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF [LLINOIS
EASTERN DIVISION

Lisa Alcorn, as Plenary Guardian
of the Estate of Tyler Lumar
Case No. 17 C 5859
Plaintiff,
Vv. Judge Kendal]

The City of Chicago, et al, Magistrate Judge Finnegan

Nee ee ee ee ee es ee

Defendants,

DEFENDANTS’ WARREN, VEGA, ESTEBAN, CONNER, MASTERS, JONES,
ALEXANDER, VINSON, LASCH, GEYER, O'DONNELL, GARTNER, BARRY, AND
PEALS RESPONSE TO MANDATORY INITIAL DISCOVERY

Defendants Daniel Warren, Carlos Vega, Corrina Esteban, Justin Conner, Dany Helwink-
Masters, James Jones, Dietrice Alexander, Peter Vinson, Alan Lasch, Kevin Geyer, Weselene
O'Donnell, John Gartner, Charles Barry, and Kimoni Peals, (collectively herein “Defendants”)
by and through their attorneys, Caroline Fronczak, senior Counsel, Jason Marx, Assistant
Corporation Counsel, and Jessica Gomez-Feie Assistant Corporation Counsel, for their Response
to Mandatory Initial Discovery pursuant to the standing order regarding the Mandatory Initial

Discovery Pilot Project, state as follows:

1. State the names and, if known, the addresses and telephone numbers of all persons who
you believe are likely to have discoverable information relevant to any party’s claims or
defenses, and provide a fair description of the nature of the information each such person is

believed to possess.

RESPONSE:

1) Defendant Daniel Warren, Star No. 17444. 3510 S. Michigan Ave., Chicago, Illinois,

may be contacted through defense counsel only. Defendant Warren may have knowledge
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of his training and the events that are the subject of this lawsuit as well as all other

subject matter set out in documents produced in discovery by Plaintiff and Defendants.

2) Defendant Carlos Vega, Star No. 17477, 3510 S. Michigan Ave., Chicago, Illinois, may
be contacted through defense counsel only. Defendant Walsh may have knowledge of his
training and the events that are the subject of this lawsuit as well as all other subject

matter set out in documents produced in discovery by Plaintiff and Defendants,

3) Defendant Corrina Esteban, 3510 S. Michigan Ave., Chicago, Illinois, may be contacted
through defense counsel only. Defendant Esteban may have knowledge of her training
and the events that are the subject of this Jawsuit as well as all other subject matter set out

in documents produced in discovery by Plaintiff and Defendants.

4) Defendant Justin Conner, Star No. 18863, 3510 S. Michigan Ave., Chicago, Illinois, may
be contacted through defense counsel only. Defendant Conner may have knowledge his
training and the events that are the subject of this lawsuit as well as all other subject

matter set out in documents produced in discovery by Plaintiff and Defendants.

5) Defendant Dany Helwink Masters, Star No. 261, 3510 S. Michigan Ave., Chicago,
Illinois, may be contacted through defense counsel only. Defendant Masters may have
knowledge of her training and the events that are the subject of this lawsuit as well as all
other subject matter set out in documents produced in discovery by Plaintiff and

Defendants.

6) Defendant James Jones, Star No. 73, 3510 S. Michigan Ave., Chicago, Illinois, may be
contacted through defense counsel only, Defendant Jones may have knowledge of his
training and the events that are the subject of this lawsuit as well as all other subject

matter set out in documents produced in discovery by Plaintiff and Defendants.
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7) Defendant Dietrice Alexander Star No. 7662, 3510 S. Michigan Ave., Chicago, Illinois,
may be contacted through defense counsel only. Defendant Alexander may have
knowledge of her training and the events that are the subject of this lawsuit as well as all
other subject matter set out in documents produced in discovery by Plaintiff and

Defendants.

8) Defendant Peter Vinson Star No. 17066, 3510 S. Michigan Ave., Chicago, Illinois, may
be contacted through defense counsel only. Defendant Vinson may have knowledge of
his training and the events that are the subject of this lawsuit as well as all other subject

matter set out in documents produced in discovery by Plaintiff and Defendants.

9) Defendant Alan Lasch, Star No. 1434, 3510 S. Michigan Ave., Chicago, Ilinois, may be
contacted through defense counsel only. Defendant Lasch may have knowledge of his
training and the events that are the subject of this lawsuit as well as all other subject

matter set out in documents produced in discovery by Plaintiff and Defendants.

10) Defendant Kevin Geyer, Star No. 1679, 3510 S. Michigan Ave., Chicago, Illinois, may
be contacted through defense counsel only. Defendant Geyer may have knowledge of his
training and the events that are the subject of this lawsuit as well as all other subject

matter set out in documents produced in discovery by Plaintiff and Defendants.

11) Defendant Weslene O’Donnell, Star No. 2167, 3510 S. Michigan Ave., Chicago, Illinois,
may be contacted through defense counsel only. Defendant O’Donnell may have
knowledge of her training and the events that are the subject of this lawsuit as well as all
other subject matter set out in documents produced in discovery by Plaintiff and

Defendants.

12) Defendant Sgt. John Gartner, Star No. 2523, 3510 S. Michigan Ave., Chicago, Minois,

may be contacted through defense counsel only. Defendant Gartner may have knowledge
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of his training and the events that are the subject of this lawsuit as well as all other

subject matter set out in documents produced in discovery by Plaintiff and Defendants.

13) Defendant Charles Barry, 3510 S. Michigan Ave., Chicago, Illinois, may be contacted
through defense counsel only. Defendant Barry may have knowledge of his training and
the events that are the subject of this lawsuit as well as all other subject matter set out in

documents produced in discovery by Plaintiff and Defendants.

14) Defendant Kimoni Peals, 3510 S. Michigan Ave., Chicago, Illinois, may be contacted
through defense counsel only, Defendant Peals may have knowledge of his training and
the events that are the subject of this lawsuit as well as all other subject matter set out in

documents produced in discovery by Plaintiff and Defendants.

15) Plaintiff Lisa Alcorn, may have knowledge regarding the allegations contained in the
Complaint, any alleged damages she claims that Tyler Lumar suffered in connection with
the events that are the subject of this lawsuit, as well as all other subject matter set out in
documents produced in discovery by Plaintiff and Defendants, including Lumar’s

criminal history and convictions, if any.

16) Defendant T. Wlodarski, Cook County Sheriff's Office, this individual may be contacted
through his attorney only. This individual may have knowledge of the events that are the
subject of this lawsuit as well as all other subject matter set out in documents produced in

discovery by Plaintiff and Defendants.

17)Cook County Sheriff's Department Lieutenant A. Lewis, this individual may be
contacted through the legal department for the Cook County Sheriff's Department. This
individual may have knowledge regarding LUMAR’s alleged possession of narcotics
during the processing in the bullpen area al or near the location of the criminal

courthouse.
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18) Chicago Police Detective Marc Leavitt, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge of the events
that are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintiff and Defendants.

19) Chicago Police Detective William Fiedler, this individual may be contacted through
counsel for Defendant City of Chicago only. This individual may have knowledge of the
events that are the subject of this lawsuit as well as all other subject matter set out in

documents produced in discovery by Plaintiff and Defendants,

20) Chicago Police Officer Daniel McCall, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge of the events
that are the subject of this lawsuit as well as all other subject matter set out in documents

produced tn discovery by Plaintiff and Defendants.

21)Chicago Police Officer Greg Roszkowski, this individual may be contacted through
counsel for Defendant City of Chicago only. This individual may have knowledge of the
events that are the subject of this lawsuit as well as all other subject matter set out in

documents produced in discovery by Plaintiff and Defendants,

22) Chicago Police Department employee Jonathan Errum, this individual may be contacted
through counsel for Defendant City of Chicago only. This individual may have
knowledge of the events that are the subject of this lawsuit as well as all other subject

matter set out in documents produced in discovery by Plaintiff and Defendants.

23) Chicago Police Officer Brigid Menoni, this individual may be contacted through counsel

for Defendant City of Chicago only. This individual may have knowledge of the events
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that are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintiff and Defendants.

24) Chicago Police Officer John Granat, this individual may be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge of the events that
are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintiff and Defendants,

25) Chicago Police Officer R. Zasiebida (Star 417), this individual may be contacted through
counsel for Defendant City of Chicago only. This individual may have knowledge of
LUMAR’s prior arrest and all other subject matter set out in related documents produced

in discovery by Plaintiff and Defendants.

26) Chicago Police Officer M. Scott (Star 342), this individual may be contacted through
counsel for Defendant City of Chicago only. This individual may have knowledge of
LUMAR’s prior arrest and all other subject matter set out in related documents produced

in discovery by Plaintiff and Defendants.

27) Chicago Police Officer Thomas Gannon (Star 9694), this individual may be contacted
through counsel for Defendant City of Chicago only. This individual may have
knowledge of LUMAR ’s arrest for narcotics possession on August 19, 2016 and all other
subject matter set out in related documents produced in discovery by Plaintiff and

Defendants.

28) Chicago Police Evidence Technician Angelo Marconi, this individual may be contacted
through counsel for Defendant City of Chicago only. This individual may have

knowledge regarding recovery of evidence following LUMAR’s suicide attempt.
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29) Chicago Police Evidence Technician Elizabeth Vera, this individual may be contacted
through counsel for Defendant City of Chicago only. ‘his individual may have

knowledge regarding recovery of evidence following LUMAR’s suicide attempt.

30) Chicago Police Sergeant Thomas Mitchell, this individual may be contacted through
counsel for Defendant City of Chicago only. This individual may have knowledge
regarding the scene of LUMAR’s suicide attempt and investigation into the suicide

attempt.

31) Chicago Police Sergeant Erik Madsen, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge regarding the

scene of LUMAR ’s suicide attempt and investigation into the suicide attempt.

32) Chicago Police Officer Michael Bertini, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge regarding the

scene of LUMAR’s suicide attempt and investigation into the suicide attempt.

33) Chicago Police Officer Patrick Cradick, this individual may be contacted through counsel]
for Defendant City of Chicago only. This individual may have knowledge regarding the

scene of LUMAR’s suicide attempt and investigation into the suicide attempt.

34) Chicago Police Officer Roger Bay, this individual may be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding the

scene of LUMAR ’s suicide attempt and investigation into the suicide attempt.

35) Chicago Police Officer Walter Delgado, this individual may be contacted through counsel

Defendant City of Chicago only, This individual may have knowledge regarding
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LUMAR’s physical and mental condition prior to LUMAR’s suicide attempt on August
19, 2016.

36) Chicago Police Officer Kevin Wortham, this individual may be contacted through
counsel Defendant City of Chicago only. This individual may have knowledge regarding
LUMAR’s physical and mental condition prior to LUMAR’s suicide attempt on August
19, 2016.

37) Chicago Police Department employee A. McGuire, this individual may be contacted
through counsel Defendant City of Chicago only, This individual may have knowledge
regarding LUMAR’s physical and mental condition prior to LUMAR’s suicide attempt
on August 19, 2016.

38) Chicago Police Department employee R. Kincaid, this individual may be contacted
through counsel Defendant City of Chicago only. This individual may have knowledge
regarding LUMAR’s physical and mental condition prior to LUMAR's suicide attempt
on August 19, 2016.

39) Chicago Fire Department paramedic Luis Velez, to be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding medical
treatment provided to LUMAR in the District 11 lockup.

40) Chicago Fire Department paramedic Tristan Lopez, to be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding medical
treatment provided to LUMAR in the District 11 lockup.
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41) Chicago Fire Department Lieutenant Marlon Woods, to be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding medical
treatment provided to LUMAR in the District 11 lockup.

42)Chicago Fire Department firefighter Wade, to be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding medical

treatment provided to LUMAR in the District 11 lockup.

43)Chicago Fire Department firefighter Orroyo, to be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding medical

treatment provided ta LUMAR in the District 11 lockup.

44) Chicago Fire Department firefighter Unknown name, employee number 21216, to be
contacted through counsel for Defendant City of Chicago only. This individual may have

knowledge regarding medical treatment provided to LUMAR in the District 11 lockup.

45)Casey Tencate, current contact information unknown, this individual may have

knowledge relating to LUMAR’s prior arrest.

46)Lauren Barrett, ctirrent contact information unknown, this individual may have

knowledge relating to LUMAR’s prior arrest.

47) Amritpal Jawanda, MD, c/o Madison Family Health Center, 388 W. Madison, Chicago,
illinois. This individual may have knowledge regarding LUMAR’s conduct prior to his
arrest on August 18, 2016.
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48) Sukhveer Wahi, MD, c/o Madison Family Health Center, 388 W. Madison, Chicago,
[linois. This individual may have knowledge regarding LUMAR’s conduct prior to his

arrest on August 18, 2016.

49) Dexter Reed, security, c/o Madison Family Health Center, 388 W. Madison, Chicago,
INinois, This individual may have knowledge regarding LUMAR’s conduct prior to his

arrest on August 18, 2016.

50) Katie Simmons, c/o Madison Family Health Center, 388 W. Madison, Chicago, Ilinois.
This individual may have knowledge regarding LUMAR’s conduct prior to his arrest on
August 18, 2016.

51) Maria Vega, c/o. Madison Family Health Center, 388 W. Madison, Chicago, Ulinois, This
individual may have knowledge regarding LUMAR’s coiidtict prior to his arrest on
August 18, 2016.

52) Monique Zkson, c/o Madison Family Health Center, 388 W. Madison, Chicago, Illinois.
This individual may have knowledge regarding LUMAR's coriduct prior to His arrest on
August 18, 2016.

53) Erica Cook, c/o Madison Family Health Center, 388 W. Madison, Chicago, Illinois. This
individual may have knowledge regarding LUMAR’s conduct prior te his arrest on
August 18, 2016.

24) Erik Spann, last known address 426 North Harding Avenue in Chicago, Jlinois. This
individual may have knowledge regarding LUMAR’s suicide attempt, statements, and

actions taken immediately after LUMAR’s suicide attempt.

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55) Civilian Office of Police Accountability (‘COPA”) Investigalor Bruce Dean, this
individual may be contacted through counsel for Defendant City of Chicago only. This
individual may have knowledge of the events that are the subject of this lawsuit as well as
all other subject matter set out in documents produced in discovery by Plaintiff and

Defendants.

56) COPA Investigator Chantelle Hill, this individual may be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge of the events that
are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintiff and Defendants.

57) COPA Investigator William Abbruzzese, this individual may be contacted through
counsel for Defendant City of Chicago only. This individual may have knowledge of the
events that are the subject of this lawsuit as well as all other subject matter set out in

documents produced in discovery by Plaintiff and Defendants.

58) COPA Investigator Joshua Hunt this individual may be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge of the events that
are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintiff and Defendants.

59) COPA Investigator Catherina Oliveri, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge of the events
that are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintiff and Defendants.

60) COPA Investigator Kelvin Lett, this individual may be contacted through counsel for

Defendant City of Chicago only, This individual may have knowledge of the events that

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are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintiff and Defendants.

61) COPA Investigator Linda Franco, this individual may be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge of the events that
are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintiff and Defendants.

62) COPA Investigator Adam Pfeifer, this individual may be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge of the events that
are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintiff and Defendants.

63) COPA Investigator Daniel Kobel, this individual may be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge of the events that
are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintiff and Defendants.

64) COPA Investigator S. Carter, this individual may be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge of the events that
are the subject of this lawsuit as well as all other subject matter set out in documents

produced in discovery by Plaintilf and Defendants.

65)Chicago Police Chief Wayne M. Gulliford, to be contacted through counsel for
Delendant City of Chicago only. This individual may have knowledge regarding the
Chicago Police Department policy as to holding arrestees detained on arrest warrants

issued outside of Cook County.

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66) Amar Singh, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual! may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

67) Laila Robateau, RN, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge
regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

68) Amir Vafa, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge
regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

69) Jonathan Hwee, c/o Mt. Sinai Hospital in Chicago, [linois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge
regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

70) Alan Matson, MID, c/o Mt. Sinai Hospital in Chicago, linois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge
regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

71) Ivica Vucic, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.
72) Amar Shah, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be contacted

through the Mt. Sinai legal department. This individual may have knowledge regarding

LUMAR’s medical treatment following LUMAR’s suicide attempt.

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73) Jeffrey Yu, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be contacted
through the Mt. Sinai legal department. This individual may have knowledge regarding

LUMAR’s medical treatment following LUMAR’s suicide attempt.

74) Adarsh Shukla, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

75) Christine Eden, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mi. Sinai legal department. This individual may have knowledge
regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

76) Anthony Castelli, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge
regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

77) Laura Kozak, RN, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge
regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

78) Sandeep Khosla, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge
regarding LUMAR ’s medical treatment following LUMAR’s suicide attempt.

79) Mir Yadullahi, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be

contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR ’s medical treatment following LUMAR's suicide attempt.

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80) Andrew Bokarius, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

81) Mark Chottiner, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

82) Valeria Cooper, PA, c/o Mt. Sinai Hospital in Chicago, INinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge
regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

83) Stavros Maltezos, MD, c/o Mt. Sinai Hospital in Chicago, INinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

84) Keenan Wanamaker, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may
be contacted through the Mt. Sinai legal department. This individual may have

knowledge regarding LUMAR’s medical treatment following LUMAR’s suicide attempt,

85) Alin Cheran MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai Jegal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

86) Nancy Sibigtroth, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mi. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.
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87) Kukoyi Omobolawa, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may
be contacted through the Mt. Sinai legal department. This individual may have

knowledge regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

88) William Brigode, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

89) Sarah Bacje Wiig, PA, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

90) Albert Leung, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge
regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

91) Taral Doshi, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

92) Gary Merlott, MD, c/o Mt. Sinai Hospital in Chicago, Tinois, this individual may be
_ contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.
93) Michael Rechitsky, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may

be contacted through the Mt. Sinai legal department. This individual may have

knowledge regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

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94) Ryan Sullivan, MD, c/o Mt. Sinai Hospital in Chicago, Illinois; this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

95) Steven Flynn, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

tegarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

96) Alan Hecht, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

97) David DeBruin, c/o Mt. Sinai Hospital in Chicago, Mlinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

98) Richard Kim, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge
regarding LUMAR ’s medical treatment following LUMAR’s suicide attempt.

99) Kevin Frame, MD, c/o Mt. Sinai Hospital in Chicapo, Illinois, this individual may be
contacted through the Mt. Sinai legal department. This individual may have knowledge

regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

100) Sarah Rowe, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, this individual may
be contacted through the Mt, Sinai legal department. This individual may have

knowledge regarding LUMAR’s medical treatment following LUMAR’s suicide attempt.

101) Anthony Thomas, MD, c/o Quest Diagnostics Wood Dale. 1355 Mittel

Boulevard, Wooddale, IL. ‘Uhis individual may be contacted through Quest Diagnostics.

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This individual may have knowledge regarding medical testing performed on LUMAR

following LUMAR’s suicide attempt.

102) Erika Ferguson, MD c/o Mt. Sinai Hospital in Chicago, Hlinois, this individual
may be contacted through the Mt. Sinai legal department. This individual may have

knowledge regarding LUMAR’s medical treatment prior to LUMAR’s suicide attempt.

103) Chief Judge Timothy C. Evans, Circuit Court of Cook County, to be contacted
through legal department of the Circuit Court of Cook County. Judge Evans may have
knowledge regarding his order stating that all individuals arrested by the Chicago Police
Department on an arrest warrant issued by an Illinois state court outside of Cook County

shall be required to appear in bond court prior to release.

104) Representative from Circuit Court of Lee County, to be contacted through legal
department of Circuit Court of Lee County. This individual may have knowledge
regarding the issuance of LUMAR’s Lee County arrest warrant and would be expected to

testify that on August 18, 2016, LUMAR’s Lee County arrest warrant was valid.

105) Representative from the Office of Emergency Management and Communication
(“OEMC”), this individual may be contacted through counsel for Defendant City of
Chicago only. This individual would have knowledge regarding OEMC documents and

recordings and would lay foundation for OEMC documents and/or OEMC recordings.

106) Personnel trom the Chicago Police Department, to lay foundation for and/or to
testify all Chicago Police Department records produced in this case, including, but not
limited to, police reports, photographs, relevant individuals’ criminal backgrounds, rap

sheets, to be contacted through defense counsel.

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107) Representative(s) from the City of Chicago Police Department, to be formally
designated at a later time and to be contacted through counsel for Defendant City of
Chicago only. This individual or individuals would be presented as a corporale
designate(s) to testify as to official Chicago Police Department policy on specific
subjects, including but not limited to General Orders and Special Orders of the Chicago

Police Department.

108) Representative(s) from the City of Chicago Police Department, to be formally
designated at a later time and to be contacted through counsel for Defendant City of
Chicago only. This individual or individuals would be presented as a corporate

designate(s) to testify as to training provided to City of Chicago employees.

109) Representative(s) from the City of Chicago Police Department, to be formally
designated at a later time and to be contacted through counsel for Defendant City of
Chicago only. This individual or individuals would be presented as a corporate

designate(s) to testify as to investigations into in-custody deaths of arrestees.

110) Representative(s) from the City of Chicago, to be formally designated at a later
time and to be contacted through counsel for Defendant City of Chicago only. This
individual or individuals would be presented as a corporate designate(s) to testify as to
investigations into allegations involving misconduct on the part of City of Chicago Police

Department employees.

Investigation continues and this response is not intended to be a final list of possible
witnesses in this matter. Defendants reserve the right to supplement this response as the
investigation continues and pursuant to the Northern District Court of Illinois’ Standing Order
Regarding Mandatory Initial Discovery Pilot Project. Defendants also reserve the right to call

any Witnesses disclosed by Plaintiff at trial in this matter.

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Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 37 of 107 PagelD #:2437

2. State the names and, if known, the addresses and telephone numbers of all persons who
you believe have given written or recorded statements relevant to any party’s claims or defenses.
Unless you assert a privilege or work product protection against disclosure under applicable law,
attach a copy of each such statement if it is in your possession, custody, or control. If not in your
possession, custody, or control, state the name and, if known, the address and telephone number

of each person who you believe has custody of a copy.

RESPONSE:
At this time, numerous witnesses have given statements relevant to any party’s claims or
defenses, Copies of the statements are being provided to Plaintiff and are contained within the

Log File.

Investigation continues and this response is not intended to be a final list of people who
have given written or recorded statements relevant to any party’s claims or defenses. Defendants
reserve the right to supplement this response as the investigation continues and pursuant to the
Northern District Court of Illinois’ Standing Order Regarding Mandatory Initial Discovery Pilot
Project, Defendants also reserve the right to call any witnesses disclosed by Plaintiff at trial in

this matter,

Se List the documents, electronically stored information (“ESI”), tangible things, land, or
other property known by you to exist, whether or not in your possession, custody or control, that
you believe may be relevant to any party’s claims or defenses. To the extent the volume of any
such materials makes listing them individually impracticable, you may group similar documents
or ESI into categories and describe the specific categories with particularity. Include in your
response the names and, if known, the addresses and telephone numbers of the custodians of the
documents, ESI, or tangible things. land, or other property that are not in your possession,
custody, or control. For documents and tangible things in your possession, custody, or control,
you may produce them with your response, or make them available for inspection on the date of
the response, instead of listing them. Production of ES{ will occur in accordance with paragraph

C.2 below.

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RESPONSE:

Defendants refer to the following documents identified herein, which arc being produced

November 17, 2017:

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12.pdf FCRL.000019 FERL 000020
13.mp3 FCA 000021 FCRL 000021
13750299 ChainOC.pdf FCRI. 000022 FCRL 000022
14,.mpa FCRL 000023 FCRL 000023
15 min Inspection log (2016, 09-07)
Preservation _ Lumar.pdf FCRL 000024 FCRL 000030
PASIMAS _| FCRLOOOO31 == FCRLOO0NB1 |
16.mp3 FCRL 000032 FCRL 000032
17.pdf FCRL 000033 FCRL 000033
18.pdf FCRI000034 FCRL 000034
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23:pdf _ | FERL. 000046 FCRL.000048
24.pdf FCRL 000049 FCRL 000066
25,.pdf _ _| FCRL 000067 -FCRL 000067
26.pdf FCRLOOO068 FCRL.000071
27.pdi = FCRL 000072 FCRI. 000072
28.pdf _____| Fert.000073, | FCRL 000076
29.pdf | ORL 000077_— =| FERLOCOOTO
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Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 39 of 107 PagelD #:2439

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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602 Reports (2016, 09-07) Fire _
| Preservation _ Lumar.pdf FCRL 000429 FCRL 000434
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A&A sheet identifing P.O. from
| Atrestee Transport Manifest.padf ___| FCRL 000490 FCRLO00490 _
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19. Preservation_Lumar.pdf FCRL 000522 FCRL 000552
Ambulance Report - LUMAR TYLER
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H2398499. pdf _ | FCRLO00559 ———_—s|: FCRL.000570 emt
Arrest Report (2016, 08-22) _ (7 a
Preservation_2016, 08-19.pdf - FCRL 000571 __| FCRLOOOS7S5)
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arrest report previous-08302016.puf | FCRL 000581 a FCRL 000585
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08302016,pdf | FORLOGOS86 | FRE 000589
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Audio Research log (2016, 09-07) Fire

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Audio Research Logs (2016, 12-13)
2016, 08-18 Alcorn.pdf FCRL 000596 ___| FCRL000597
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2016, 08-19 _Alcorn.pdf FCRL 000598 FCRL 000599
| BEAT 1113A.paf _ FCRL 000600 FCRL 000604
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_BEAT-1123.pdf_ ; FCRL.000614 FCRL 000631
BEAT-1124.pdf = FCRL 000632 FCRL 000643
_BEAT-1130. pdf FCRL 000644 FCRL 000647
BEAT-1134. pdf FCRL 000648 FCRL 000668
BEAT-5832.pdf FCRL 000669 FCRL 000673 =]
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Booking Photos (2016, 08-29)
Previous Arrest.pdf __| FCRL 000676 FCRL 000677 evil
Case Report (2016, 10-19) RD H2
| 398804_Alcorn.pdf Feline FCRL 000678 FCRL 000679
Chain of Custody Report (2016-09-
! 26).pdf FCRL 000680 FCRL 000690 —
Criminal History (2016, 08-22)
_Preservation_2016,08-19.pdf =| FCRL000691 FCRL 000695
Criminal History (2016, 10-25)
Span_Alcorn.pdf FCRL 000696 FCRL 000698
| cwl radio 1508 hrs.mp3 FCRL 000699 _FCRL 000699 __
| cw radio 1508 hrs. txt = FCRL 000700 FCRLOCO700
cw2 phone position pdt103 1300 to
1736 hrs.mp3 7 ae ee FCRL 000701 FCRL 000701
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_1736 hrs.txt __ FCRL 000702 FCRLO00703 __ ;
_cw2 radio 1300 to 1356 hrs.mp3 7 FCRL 000704 FCRL 000704 __
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|_cw2 radio 1459 to 1553 hrs.mp3 _FCRL 000766 FCRL 000766
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_cw2 radio 1508 hrs.txt / FCRL 000788 _|FCRLOOO788
_tw2 radio 1553 to 1736 hrs.mp3 FCRL 000789 | FCRL 000789
 

 

 

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| 1259hrs.mp3 | FERL.O00843 FCRL 000843
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| 1259hrs.txt 7 ____ | Fert 000844 FCRL 000882
ev 05380-111658 to 121704hrs.txt _| FCRL000883 FCRL001008 |
ev 05380-121656 to 131532hrs.mp3_| FCRL001009 FCRL 001009
ev 05380-121656 to 131532hrs.txt | FCRL.001010 _ FCRL001113

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18_Alcorn.pdf _| FCRL 001117 ___| FCRL.001119
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19 Alcorn. pdf | FCRL 002120 |FCRLO01126
Event Query (2016, 09-07) Fire _
Preservation _ Lumar.pdf FCRL 001127 — _ | FCRL 001129
EventQuery -1623205380.pdf FCRL 001130 FCRL 001134
EventQuery-1623206198.pdf _ __| FCRL001135 FCRL 001136
EventQuery-1623207170.pdf _| FCRL 001137 FCRL 001139
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1204hrs.mp3 FCRLOO1144 _ FCRL 001144
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Forensics (2016, 10-03), pdf FCRL 001173 FCRL 001176 a
GPS-BEAT 1123-3151 W.
HARRISON.xls _FCRL 001177 FCRL001186
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-06)preservation.pdf =| FCRL 001219 | FERLO01220
Inventory 13750250 (2016, 10-31}

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Inventory Search (2016, 08-30) RD

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Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 43 of 107 PagelD #:2443

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Manifest (2016, 20-27).pdf _ FCRL 001224 FCRL001225
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MADISON. pdf ee FCRL 001233 FCRL 001235
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HARRISON, pdf FCRL 001236 FCRL 061238
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madt_messages_LH16721_A33-
(1357.pdho _ FCRL 001244 _FCRLOO1244—
mdt_messages_LH16721_£107-
_1298.pdf _| FCRL.001245 FCRL 001246
| Memo regarding Arrest Warrants.pdf_ | FCRL001247 FCRL 001247
Motion for Preservation-Emergency
(2016-08-26).pdf _ FCRL 001248 FCRL 001251
notifications 1215 to 1300 hrs.mp3_ | FCRLOO1252— FCRL 001252
notifications 1215 to 1300 hrs.txt _|_FCRL 001253 FCRL 001254
OCIR2-REDACTED.pdf FCRL 001255 FCRt 001256
OCIR3-REDACTED. pdf | FCRL 001257 FCRL 001258 ‘
OCIR-REDACTED.paf ___| FERL.001259 FCRL 001261
| OEMC CD's (2016, 12-13) Alcorn.pdf__| FCRL.001262 FCRL 001265
PC Search Report (2016, 10-24), pdf FCRL 001266 FCRL 001270
PCOAZ95 @20160818150632, mpg FCRL 001271 FCRL 001271
PDT & MDT (2016, 09-13).doc_ | FCRL001272_— FCRL 001272
PDT_Beat_ID_LH16721.PDF FCRL 001273 FCRLO01273,
PDT_Messages_LH16721_1123.PDF FCRL 001274 FCRL 001275
pdt_messages LH16721_ 1124-
2726.pdf a -FCRLO01276 Ss | FCRLOO1285——
pdt_messages_LH16721_ 1130.
2754.pdF FCRL 001286 _| FCRL.001287
pdt_messages_LH16721_1134-
2775.pdf 7 a) FCRL 001288 FCRL 001300 i
Preservation Letter (2016, 09-07)
EO_Tyler Lumar.pdf ; FCRL 001301 _| PCRLO01303 _
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{2016, 10-20) Alcorn.pdf_ | FCRL 001304 | FERL 001304
Property Transmittal Report (2016,
10-28) Alcorn.pdf ; FCRL 001305, _| FCRL001314
 

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_Ref. CFD16-0481 Audio Log. pdf FCRL 001315 FCRL 001315
Special Order (2017, 11-01) S06-01-
02.pdf _ ___| FCRL 001316 FCRL 001321
Station Video (2017, 09-01) Dist
Oll.pdf FCRL 001322 FCRLO0132200
Supervisor Management Log (2017,
| 09-01).pdf : FCRL 001323 FCRL 001346 _
_tempD. xml __| FCRL001347 i FCRL 001348 _
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Unit Queries (2016, 12-13) 2016, 08-
18_Alcorn.pdf = FCRL 001356 FCRL 001366
Watch Incident Log (2017, 09-01).pdf | FCRL001367 FCRL 001372
210 phone position pd119 1016 to
2155 hrs.mp3 FCRL 001373 FCRL 001373
210 phone position pd119 1016 to
2155 hrs.txt _ FCRL 001374 FCRL 001381
710 phone position pd119 1405 to
| 2007 hrs.mp3- FCRL001382 FCRL 001382 _
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2007 hrs.txt 7 FCRL 001383 FCRL 001383
210 phone position pd120 1016 to
2155 hrs.mp3 FCRL 001384 FCRL 001384
210 phone position pd120 1016 to
2155 hrs.txt FCRL 001385 __| FCRL 001386
210 phone position pd120 1405 to
2007 hrs.mp3 FCRL 001387 FCRL 001387
210 phone position pd120 1405 to
2007 hrs.txt FCRL 001388 FCRL 001390
210 radio 1016 to 1117 hrs.mp3 FCRL 001391 FCRL 001391 |
210 radio 1016 to 1117 hrs.txt FCRL 001392 FCRL 091479 __|]
_210 radio 1405 to 1508 hrs.mp3 FCRL 001480 FCRLOO1480,—
_210 radio 1405 to 1508 hrs.txt_ FCRL001481 | FCRLOOIS41
210 radio 1516 to 1616 hrs.mp3 FCRL 001542 FCRL.001542
210 radio 1516 to 1616 hrs.txt_ FCRL 001543 FCRL001631
210 radio 1607 to 1705 hrs.mp3 FCRL 001632 _ FCRLOO163200—
_210 radio 1607 to1705 hrs.txt _ | FCRL 001633 FCRL 001712
210 radio 1616 to 1717 hrs.mp3_——_—| FCRL004713_ ___| FCRL.001713 J
210 radio 1616 to 1747 hrs.txt FCRL 001714 ___| FCRL001819
210 radio 1705 to 1807 hrs.mp3 ——_| FCRL.001820 | FCRL001820 _
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210 radio 1716 to 1816 hrs.mp3 FCRL001902 _ _| FCRL001902_
_210 radio 1716 to 1816 hrs.txt_ _| FCRL001903_ | FCRLOOI999
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210 radio 1816 to 1916 hrs.mp3. FCRL 002073 : FERLOO2073

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| 210 radio 1906 to 2007 hrs.mp3__ FERL 062159 FCRL 002159

210 radio 1906 to 2007 hrs.txt JFCRLOO2160 | FCRL 002264 __]

210 radio 1916 to 2055 hrs.mp3_—— | FCRLOO2265  =—=s——“= =| FCRL 002265

710 radio 1916 to 2055 hrs.txt FCRL 002266 ss] FERLOO2456

210 radio 2054 to 2154 hrs.mp3_ | FORLOO2457_—— FCRL 002457

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zone 10-150822 to 160757hrs.txt | FCRLO02578 = FCRLOOZEEA

This disclosure is nol intended to be a final list of possible documents to be used in this
matter. Defendants reserves the right to supplement this disclosure as the investigation continues
and pursuant fo the Northern District Court of Ilinois’ Standing Order Regarding Mandatory

Initial Discovery Pilot Project.

4, For each of your claims or defenses, state the facts relevant to it and the legal theories

upon which it is based.

RESPONSE:

J. Plaintiff has failed to state a claim upon which relief may be granted against Defendant
City under Federal Rule of Civil Procedure 12(b)(6). The factual basis and legal theory
are included within the City’s pending motion to dismiss, docket no. 41, and are
incorporated herein.

Il. The Chicago Police Department is a non-suable entity. The factual basis and legal theory
are included within the City’s pending motion to dismiss, docket no. 4], and are
incorporated herein.

If], The City of Chicago is immune from the imposition of punitive damages under both state
and federal law. Moreover, under Illinois law, the City cannot be required to indemnify
an employee for punitive damages, nor may it pay a judgment for punitive damages. 745
ILCS 10/2-102 (2014); City of Newport v. Facts Concerts, 453 U.S, 247, 271 (1981),

28
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 46 of 107 PagelD #:2446

IV. The City of Chicago cannot be held liable under 42 U.S.C. § 1983 on a respondeat
superior theory. The factual basis and legal theory are included within the City’s pending
motion fo dismiss, docket no. 41, and are incorporated herein,

V. The City of Chicago is immune from liability for alleged constitutional deprivations
caused unless Plaintiff can show that an individual defendant employed by the City of
Chicago caused Plaintiff to suffer a constitutional injury. City of Los Angeles v. Heller,
475 U.S. 796, 799 (1986) (holding no Monell liability where no individual defendant is
liable for underlying substantive claim); Durkin v. City of Chicago, 341 F.3d 606, 615
(7th Cir, 2003) (same). The factual basis for this defense is that Tyler Lumar attempted to
commit suicide without any City of Chicago employee being put on actual notice that
Tyler Lumar was at risk of suicide or self-harm. Absent this notice, no City of Chicago
employee can be liable under 42 U.S.C. § 1983. See, e.g. Saucedo v. City of Chicago, No.

11 C5868, 2015 WI. 3643417 (N.D.TL. June 11, 2015) (Zagel, J.). The factual basis and
legal theory are also included within the City’s pending motion to dismiss, docket no. 41,
and are incorporated herein.

Vi. To the extent that Tyler Lumar failed to mitigate any of his claimed injuries or damages,
any verdict or judgment obtained by Plaintiff must be reduced by application of the
principle that Tyler Lumar had a duty to mitigate, commensurate with the degree of
failure to mitigate attributed to Tyler Lumar by the jury in this case. The factual basis for
this defense is that Tyler Lumar failed to mitigate his potential damages relating to the
arrest on an outstanding warrant by, according to the Cook County Sheriff?s Department,
being in possession of illegal narcotics, which thereby extended the time he was in
custody.

Vil. To the extent any injuries or damages claimed by Plaintiff as proximately caused, in
whole or in part, by the negligent, willful and wanton and/or other wrongful conduct on
the part of the Tyler Lumar, any verdict or judgment obtained by Plaintiff must be
reduced by application of the principles of comparative fault, by an amount
commensurate with the degree of fault attributed to Tyler Lumar by the jury in this cause.
The factual basis for this defense is that Tyler Lumar voluntarily attempted to commit

suicide, an act which directly and entirely caused his physical damages.

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VIE, = At all times relevant to Plaintiffs Complaint, Defendants were government officials,
namely police officers, who were performing discretionary functions. At all times
material to the events alleged in Plaintiffs Complaint, a reasonable police officer
objectively viewing the facts and circumstances that confronted said Defendants could
have believed his or her actions to be lawful, in light of clearly established law and the
information that Defendants possessed. Defendants, therefore, are entitled to qualified
immunity as a matter of law.

IX, The Defendants cannot be held liable for Plaintiff's 42 U.S.C. § 1983 claims unless each
individually caused or participated in the alleged constitutional deprivation because
individual liability for damages under 42 U.S.C. § 1983 is predicated upon personal
responsibility. See Wolf-Lillic v. Sonquist, 699 F.2d 864, 869 (7th Cir. 1983).

X. Any award of damages against the individual Defendants shall be reduced in proportion
to the comparative fault of Plaintiff's own acts or omissions, including but not limited to
his own willful and wanton conduct which proximately caused the claimed injuries and
damages. In addition, at the time of the actions alleged in Plaintiff's Complaint, 735
ILCS 5/2-1116 (2015) was in effect. This statute reduces a plaintiff's recovery according
to his contributory negligence and bars his recovery entirely when a plaintiff is more than
fifty percent (50%) of the proximate cause of the injury or damage for which recovery is

sought.

5. Provide a computation of each category of damapes claimed by you, and a description of
the documents or other evidentiary material on which it is based, including materials bearing on
the nature and extent of the injuries suffered. You may produce the documents or other

evidentiary materials with your response instead of describing them.

RESPONSE;

Not applicable to Defendants.

6. Specifically identify and describe any insurance or other agreement under which an

insurance business or other person or entity may be liable to satisfy all or part of a possible

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judgment in the action or to indemnify or reimburse a party for payments made by the party to
satisfy the judgment. You may produce a copy of the agreement with your response instead of

describing it.

RESPONSE:

On August 19, 2016 date, the City of Chicago was self-insured for settlements and
judgments up to and including $20 million per occurrence. For settlements or judgments covered
by the City’s excess liability policy in excess of $20 million, the City has the following coverage
up to $55 million:

Argo Re Limited
$5,000,000 per occurrence/aggregate, where applicable

Allied World Assurance Company, Ltd.
$5,000,000 per occurrence/$10,000,000 aggregate

Argo Re Limited
$10,000,000 per occurrence/ageregate

Westchester Surplus Lines Insurance Company
$15,000,000 per occurrence/aggregate, where applicable

Argo Re Limited and Allied World Assurance Company, [td (quote share)
$15,000,000 per occurrerice/$15,000,000 aggregate’

First Specialty Insurance Corporation
$5,000,000 per occurrence/aggregate, where applicable

Dated: November 17, 2017. Respectfully submitted,

/s/_ Jason Marx
Jason Marx
Assistant Corporation Counsel
Caroline Fronczak
Jessica Gomez-Feie
Attorneys for Defendants
City of Chicago, Department of Law
30N. LaSalle Street, Suite 900
Chicago, Illinois 60602

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Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 49 of 107 PagelD #:2449

CERTIFICATE OF SERVICE

I hereby certify that I have caused a true and correct copy of DEFENDANTS’
RESPONSE TO MANDATORY INITIAL DISCOVERY, to be delivered via email and via
U.S. mail to the parties named below at the addresses shown this 17" day of November 2017,

Eileen M. O’Connor
O'Connor Law Group LLC
140 S. Dearborn, Suite 320
Chicago, IL 60603

Kevin Kocim

Assistant State's Attorney

Civil Rights Section

Cook County State's Attorney's Office
500 Daley Center

Chicago, Illinois 60602

Devlin Schoop, Senior Counsel

Shawn Barnett, Assistant Corporation Counsel
Allison Romelfanger, Assistant Corporation Counsel
City of Chicago, Department of Law

30.N, LaSalle Street, Suite 900

Chicago, Illinois 60602

!s/ Jason Marx
JASON MARX

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Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 50 of 107 PagelD #:2450

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LISA ALCORN, et al., )
| ) CASE NO. 17 C5859

Plaintiff, )

) JUDGE KENDALL
. )
CITY OF CHICAGO, et al. )
)
Defendants. )

CERTIFICATION OF DEFENDANTS’ RESPONSES
TO MANDATORY INITIAL DISCOVERY

Under penalties: ag provided by law pursuant to 28 U:S.C, § 1746, I, Daniel Warren,
certify that the foregoing Defendants’ Responses to Mandatory Initial Discovery are based on
knowledge, information, and belief formed after reasonable inquiry’ into documents and
information which have been assembled by authorized employees and counsel of the City of
Chicago; and that 1 am informed and believe that the statements set forth in the foregoing are

‘coniplete'and correct as 6f Noveniber_/! uy ;, 2017,

 

Signature: -
DANIEL WARREN

 
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 51 of 107 PagelD #:2451

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LISA ALCORN, et al., )
} CASE NO, 17 C 5859
Plaintiff, )
) JUDGE KENDALL
)
CITY OF CHICAGO, et al. )
y
Defendants. )

CERTIFICATION OF DEFENDANTS’ RESPONSES
TO MANDATORY INITIAL DISCOVERY

Under penalties as provided by law pursuant to 28 U.S.C. § 1746, I, Charles Barry,
certify that the foregoing Defendants’ Responses to Mandatory Initial Discovery are based on
knowledge, information, and belief formed after reasonable inquiry into documents and
information which have been assembled by authorized employees and. counsel of the City of
Chicago; and that I am informed and believe that the statements set forth in the foregoing are

complete and correct as of November Lo Se, 2017,

Signature: bea
oe BARRY
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 52 of 107 PagelD #:2452

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

LASTERN DIVISION
Lisa Alcorn, as Plenary Guardian )
of the Estate of Tyler Lumar )
) Case No, 17 C 5859
Plaintiff }
Vv, } Judge Kendall
)
The City of Chicago, et al. ) Magistrate Judge Finnegan
)
Defendants, )

CERTIFICATION OF DEFENDANTS’ RESPONSES
TO MANDATORY INITIAL DISCOVERY

Under penalties as provided by law pursuant to 28 U.S.C. § 1746, I, Kevin Geyer, certify
that the foregoing Defendants’? Responses to Mandatory Initial Discovery are based on
knowledge, information, and belief formed after reasonable inquiry into documents and
information Which have been assembled by authorized employees and course! of the City of
Chicago; ‘and that 1 am informed and believe ‘that the statemerits set forth in the foregoing are

coniplete and correct as'6f /S" Wougmber. 2017.

 
 

Signature: #1629

KEVIN GEYER
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 53 of 107 PagelD #:2453

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
Lisa Aleorn, as Plenary Guardian )
of the Estate of Tyler Lumar )
) Case No. 17 C 5859
Plaintiff )
V. ) Judge Kendall.
)
The City of Chicago, et.al. ) Magistrate Judge Finnegan
)
Defendants, )

CERTIFICATION OF DEFENDANTS’ RESPONSES
TO MANDATORY INITIAL DISCOVERY

Unider penalties as provided by law pursuant to:28 U:8.C. § 1746, [, James-Jones, certify
that the foregoing Defendants’ Responses to Mandatory Initial Discovery are hased on
knowledge, information, and belief formed after reasonable ‘inquiry into documents and
tinfoemuation which have been assembled by authorized employees and counsel of the City of

Chicago; and that I am informed and believe that the statements set forth in the foregoing are.

complete and correct as of +14 lod, 2017.

 
  

Signature: De =
JAMES JONES

 
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 54 of 107 PagelD #:2454

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

WASTIRN DIVISION
Lisa Alcorn, as Plenary Guardian. i
of the Estate of Tyler Lumar )
j Gase No, 17 C 5859
Plaintiff )
vy, ) Judge Kendall
| d
The City-of Chicago, etal. ) Magistrate Judge Finnegan
Defendanis, i

CERTIFICATION OF DEFENDANTS’ RESPONSES
TO MANDATORY INITIAL DISCOVERY

   

‘Under penalties as provided: by law purspant to 28 W.S:C. § 1746, I, Alan Lasch, certify
that the. foregoing. Dofendarits’ Responses’ to Mandatory Initial Discovery are based on,
knowledge, information, and belief formed after reasonable ingyiry: into documents and
information which have: been assemibléd by, authorized employees and counsel of the City of

Chisago; and that! 1.am informed. and believe that the statements set forth in the foregoing are
complete and correct as of { 0 NMAVEMBER oy 9,

Signature: ; d 7) ¢ Z 2

ALANLASCH
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 55 of 107 PagelD #:2455

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LISA ALCORN, et al., )
) CASE NO. 17 C 5859
Plaintiff, )
) JUDGE KENDALL
)
CITY OF CHICAGO, et al. }
)
Defendants. j

CERTIFICATION OF DEFENDANTS’ RESPONSES
TO MANDATORY INITIAL DISCOVERY

Under penalties:as provided. by law pursuant: to 28 U.S.C.-§ 1746, 1, Corrina Esteban,
«ertify that the foregoing. Defendants’ Responses to Mandatory Initial Discovery are based on
knowledge, information, and belief formed after reasonable inquiry into. documents and
information which have been assembled by authorized employees and counsel of the City of
Chicago; and that‘ am informed and believe that the statements set forth in the foregoing are

complete ard correct:as: of November | t , 2017.

Signature: Ju a
CORRINA ESTEBAN

 
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 56 of 107 PagelD #:2456

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
. Lisa. Alcorn, as Plenary Guardian )
of the Estate of Tyler Liimar )
) Case No, 17.C 5859
Plaingff 5 ‘al
v. 4} Judge Kendall fl
)
Thie:Chty of Chicago, et al: 3 Magistrate Judge: Finnepab
)
Defendants, )

 

Under penalties.as provided by law pursuant-te 28°U,S.C, § 1746, J, John Gartner, certify
that the foregoing Defeitdants? Responses to. Mandatory Initial. Discovery are based on
kiowledge, information, and belief formed, after reasonable inquiry’ into: dooumenits and
information which haye been, assembled by. ‘authorized. employees and, counsel of the City of

Chicagos.and that i am.informed and believe that the statenients set ftth iH the foregoing are

  
 

complete and gorrectag of | I OM Oo / 2017,

  

ICTINGARTNER

Signature:

 

 
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 57 of 107 PagelD #:2457

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
Lisa Alcon, as Plenary Guardian )
of the Estate of Tyler Lumar )
} Case No. 17 C 5859
Plaintiff )
Vv, ) Judge Kendalt
)
The City of Chicago, et al. } Magistrate Judge Finnegan
)
Defendants. }

 

Under penalties as provided by law pursuant to 28 U.S.C. § 1746, I, Dany Helwink
Masters, certify that the foregoing Defendants’ Responses to Mandatory Initial Discovery’ are
based on knowledge, information, and beef formed after reasonable inquiry into: documents and
information, which have been. assembled by authorized employees and counsel of the City of
Chicago; and: that I api informed and believe that the statemerits set forth in the foregoing are
complete add correct as of Wat ~2- 2017.

   

Signature:

 

DANY Wane NKSTERS
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 58 of 107 PagelD #:2458

IN THE UNITED STATES DISTRICT COURT
YOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LISA ALCORN, et-al., )
) CASE NO. 17 C 5859
Plaintiff, )
) JUDGE KENDALL
)
CITY OF CHICAGO, et al. )
)
Defendants: )

CERTIFICATION OF DEFENDANTS’ RESPONSES
TO MANDATORY INITIAL DISCOVERY

 

Under penalties as provided by law pursuant to 28 U.S.C. § 1746, I, Peter Vinson, certify
that the foregoing Defendants’ Responses to Mandatory Initial Discovery are based on
knowledge, information, and belief formed after reasonable inquiry into documents and
information which have been assembled by authorized employees ard counsel of the City of
Chicago; and that I am informed and believe that the statements sei forth.in the foregoing are

complete and correct as of November _/7 , 2017.

Signature: FE Yi

PETER VINSON
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 59 of 107 PagelD #:2459

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LISA ALCORN, et al., )
) CASE NO. 17 C 5859
Plaintiff, )
) JUDGE KENDALL
)
CITY OF CHICAGO; et al. )
)
Defendants. )

Cc IFICATION OF DEFENDANTS’ RESPONSE:
TO MANDATORY INITIAL DISCOVERY

Under penalties as provided by law pursuant to 28 U.S.C. § 1746, I, Dietrice Alexander,
certify that the foregoing Defendants’ Responses to Mandatory Initial Discovery are based on
knowledge, information, and belief forined after reasonable inquiry into documents and
information which have been assembled by authorized employees and counsel of the City of
Chicago; and that I am informed and believe that the statements set forth in the foregoing are

complete and correct as of November _{7], 2017.

   

Signature: & wwii Ze
DIETRICE ALEXANDER
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 60 of 107 PagelD #:2460

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LISA ALCORN, )
) CASE NO. 17 C 5859
Plaintiff, )
) JUDGE KENDALL
)
CITY OF CHICAGO, et al. )
)
Defendants. )

CERTIFICATION OF DEFENDANTS’ RESPONSES
TO MANDATORY INITIAL DISCOVERY

Under penalties as provided by law pursuant to 28 U.S.C. § 1746, I, Kimoni Peals, certify
that the foregoing Defendants’ Responses to Mandatory Initial Discovery are based on
knowledge, information, and belief formed after reasonable inquiry into documents and
information which have been assembled by authorized employees and counsel of the City of
Chicago; and that I am informed and believe that the statements set forth in the foregoing are

complete and correct as of November 17, 2017.

Signature: Fi ney Fak, “De Boneh

KIM ORIPEAL PEALS
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 61 of 107 PagelD #:2461

IN THE UNITED SYATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LISA ALCORN, et al., )
) CASE NO. !7 C $859
Plaintiff, )
) JUDGE KENDALL
CITY OF CHICAGO, et al. )
)
Defendants. )

CERTIFICATION OF DEFENDANTS’ RESPONSES
TO MANDATORY INITIAL DISCOVERY

Under penalties as provided by law pursuant to 28 U.S.C. '§ 1746, 1, Carlos‘ Vega, certify
that the foregoing Defendants’: Responses to Mandatory Initial Discovery are based on
knowledge, information, and belief formed after reasonable inquiry into documents: and
information which have been assembled by authorized employees and counsel of the’ City of
Chicago; and that 1 am informed and believe that the statements set forth in thé foregoing-are

complete and correct as of November _/ ‘7, 2017.

pe a
“- “7
¢ GbE 17 POV 277

CARLOS VEGA

Stgnature:

 
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 62 of 107 PagelD #:2462

ad

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

LISA ALCORN, et al., )

) CASE NO. 17 C 5859
Plaintiff, }

) JUDGE KENDALL

: )
CITY OF CHICAGO, et al. )
)
Defendants. )

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NDANTS’ RESPONSES
TO MANDATORY INITIAL DISCOVERY

Under penalties as provided by law pursuant to 28 U.S.C. § 1746, 1, Justin Conner,

     

certify that the foregoing Defendants’ Responses to Mandatory Initial Discovery are based on
knowledge, information, and belief formed after reasonable inguiry into documents and
‘information which have been assembled by authorized employees and counsel of the City. of
Chicago; and that 1 am informed and believe-that, the statements set forth in the foregoing are

complete and correct as of November \} i 2017,

 
  

Signature:

| (ome by Qeaaive Ae
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 63 of 107 PagelD #:2463

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Lisa Alcorn, as Plenary Guardian
ofthe Estate of Tyler Lumar
Case No, 17 C 5859

Plain?
v.

¢

The City of Chicrye, et al,

Judge Kendatl

Mayisteate Judge Finnegan

Nee? Net Nee ee et ee eee ee

Defendanis,

CERTIFICATION OF DEFENDANTS* RESPONSES
TO MANDATORY INITIAL DISCOVERY

Under penaltics us provided-by law. pursuant to 28 U.8.C, § 1746, |, Weslewe: O"Dynnoll,
certify that the foregoing Defendants’ Responses to Mandatory Initial Discovery are based on
knowledge. information, and bellef formed afer ceasonable inquiry into documents and
information which have been assembled by authorized employees and counsel of the City of
Chicage: and that 4 an informed and believe that the statements set forth In the foregoing are

complete and correct as of | // Me vo DONA,

Signature: ef Heber OP owl —

SLENE O'DONNELL
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 64 of 107 PagelD #:2464
Case: 1:17-cv-05859 Document #: 56 Filed: 11/17/17 Page 1 of 1 Page!lD #:219

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
Lisa Alcorn, as Plenary Guardian )
of the Estate of Tyler Lumar )
) Case No, 17 C 5859
Plaintiff )
v. ) Judge Kendall
)
The City of Chicago, et al. ) Magistrate Judge Finnegan
)
Defendants. )

Notice of Service
To: All counsel of record

Pursuant to the Mandatory Initial Discovery Pilot Program standing order, Defendant City of
Chicago is filing this Notice of Service using the Court’s electronic filing system to document
that Defendant City of Chicago’s Responses to Mandatory Initial Discovery has been served
upon all counsel of record in this matter on the date of this filing.

Dated: November 17, 2017
Respectfully submitted,

és/ Shawn W. Barnett
Attorney No, 6312312

Devlin Schoop, Senior Counsel

Shawn W. Barnett, Assistant Corporation Counsel
Allison Romelfanger, Assistant Corporation Counsel
City of Chicago Department of Law

30N. LaSalle, Suite 900

Chicago, IL 60602

(312) 744-0742

Certificate of Service
I, the undersigned attomey, certify that I filed this document using the Court’s electronic filing
system. As a result, electronic copies of the filed document were served upon all counsel of
record. Additionally, a copy of the filed document may have been provided to the Court
depending upon the Court’s standing order.

/s/ Shawn _W. Barnett
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 65 of 107 PagelD #:2465

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
Lisa Alcorn, as Plenary Guardian )
of the Estate of Tyler Lumar )
) Case No. 17 C 5859
Plaintiff )
Vv. ) Judge Kendall
)
The City of Chicago, et al. ) Magistrate Judge Finnegan
)
Defendants. )

DEFENDANT CITY OF CHICAGO’S
RESPONSES TO MANDATORY INITIAL DISCOVERY

Defendant, City of Chicago (“City”), through its counsel, Edward N, Siskel, Corporation
Counsel for the City of Chicago, for its responses to Mandatory Initial Discovery Requests
pursuant to the Standing Order Regarding Mandatory Initial Discovery Pilot Project, states as

follows:

1, State the names and, if known, the addresses and telephone numbers of all persons who
you believe are likely to have discoverable information relevant to any party’s claims or
defenses, and provide a fair description of the nature of the information each such person is

believed to possess.

RESPONSE:

1) Defendant Daniel Warren, Star No. 17444, 3510 S. Michigan Ave., Chicago, IJJinois,
may be contacted through his counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including, but not limited to, the arrest of
Tyler Lumar (SLUMAR”), the arrest warrant issued by Lee County, their observations and
contact with LUMAR, any reports they authored or assisted with authoring, their understanding

and memory of the training provided by the City of Chicago, their experience as an employee of
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 66 of 107 PagelD #:2466

the City of Chicago, and, possibly, financial information relevant to damages should such

information become relevant for their defense.

2) Defendant Carlos Vega, Star No. 17477, 3510 S. Michigan Ave., Chicago, Llinois, may
be contacted through his counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including but not limited to the arrest of
LUMAR, the arrest warrant issued by Lee County, their observations and contact with LUMAR,
any reports they authored or assisted with authoring, their understanding and memory of the
training provided by the City of Chicago, their experience as an employee of the City of
Chicago, and, possibly, financial information relevant to damages should such information

become relevant for their defense.

3) Defendant Corrina Esteban, Star No. 17617, 3510 S. Michigan Ave., Chicago, Illinois,
may be contacted through her counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including but not limited to the arrest of
LUMAR, the arrest warrant issued by Lee County, their observations and contact with LUMAR,
any reports they authored or assisted with authoring, their understanding and memory of the
training provided by the City of Chicago, their experience as an employee of the City of
Chicago, and, possibly, financial information relevant to damages should such information

become relevant for their defense.

4) Defendant Justin Conner, Star No. 18863, 3510 S, Michigan Ave., Chicago, Illinois, may
be contacted through his counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including but not limited to the arrest of
LUMAR, the arresi warrant issued by Lee County, their observations and contact with LUMAR,
any reports they authored oy assisted with authoring, their understanding and memory of the
training provided by the City of Chicago, their experience as an employee of the City of
Chicago, and, possibly, financial information relevant to damages should such information

become relevant for their defense.
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 67 of 107 PagelD #:2467

5) Defendant Danny Helwink-Masters, Star No. 261, 3510 8. Michigan Ave., Chicago,
linois, may be contacted through her counsel only. This individual may have knowledge or
information regarding the incident that is the subject of this lawsuit, including but not limited to
the arrest of LUMAR, the arrest warrant issued by Lee County, their observations and contact
with LUMAR, any reports they amiiored or assisted with authoring, their understanding and
memory of the training provided by the City of Chicago, their experience as an employee of the
City of Chicago, and, possibly, financial information relevant to damages should such

information become relevant for their defense.

6) Defendant James Jones, Star No. 73, 3510 S. Michigan Ave., Chicago, Illinois, may be
contacted through his counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including but not limited to the arrest of
LUMAR, the arrest warrant issued by Lee County, their observations and contact with LUMAR,
any reports they authored or assisted with authoring, their understanding and memory of the
training provided by the City of Chicago, their experience as an employee of the City of
Chicago, and, possibly, financial information relevant to damages should such information

become relevant for their defense.

7) Defendant Alexander Star No. 7662, 3510 S. Michigan Ave., Chicago, Illinois, may be
contacted through her counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including but not limited to the arrest of
LUMAR, the arrest warrant issued by Lee County, their observations and contact with LUMAR,
any reports they authored or assisted with authoring, their understanding and memory of the
iraining provided by the City of Chicago, their experience as an employee of the City of
Chicago, and, possibly, financial information relevant to damages should such information

become relevant for their defense.

8) Defendant Vinson Star No. 17066, 3510 S. Michigan Ave,., Chicago, !linois, may be
contacted through his counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including but not limited to the arrest of

3
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 68 of 107 PagelD #:2468

LUMAR, the arrest warrant issued by Lec County, thcir observations and contact with LUMAR,
any reports they authored or assisted with authoring, their understanding and memory of the
training provided by the City of Chicago, their experience as an employee of the City of
Chicago, and, possibly, financial information relevant to damages should such information

become relevant for their defensc.

9) Defendant Alan Lasch, Star No. 1434, 3510 S. Michigan Ave., Chicago, Illinois, may be
contacted through his counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including but not limited to the arrest of
LUMAR, the arrest warrant issued by Lee County, thcir observations and contact with LUMAR,
any reports they authored or assisted with authoring, their understanding and memory of the
training provided by the City of Chicago, their experience as an employee of the City of
Chicago, and, possibly, financial information relevant to damages should such information

become relevant for their defense.

10) Defendant Kevin Geyer, Star No. 1679, 3510 S. Michigan Ave., Chicago, Illinois, may
be contacted through her counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including but not limited to the arrest of
LUMAR, the arrest warrant issued by Lee County, their observations and contact with LUMAR,
any reports they authored or assisted with authoring, their understanding and memory of the
training provided by the City of Chicago, their experience as an employee of the City of
Chicago, and, possibly, financial information relevant to damages should such information

become relevant for their defense.

11) Defendant Weselene O’Donnell, Star No. 2167, 3510 8S. Michigan Ave., Chicago,
Illinois, may be contacted through her counsel only. ‘This individual may have knowledge or
information regarding the incident that is the subject of this lawsuit, including but not limited to
the arrest of LUMAR, the arrest warrant issued by Lee County, their observations and contact
with LUMAR, any reports they authored or assisted with authoring, their understanding and
memory of the training provided by the City of Chicago, their experience as an employee of the

4
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 69 of 107 PagelD #:2469

City of Chicago, and, possibly, financial information relevant to damages should such

information become relevant for their defense.

12) Defendant Sgt. John Gartner, Star No, 2523, 3510 S. Michigan Ave., Chicago, Illinois,
may be contacted through his counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including but not limited to the arrest of
LUMAR, the arrest warrant issued by Lee County, their observations and contact with LUMAR,
any reports they authored or assisted with authoring, their understanding and memory of the
training provided by the City of Chicago, their experience as an employee of the City of
Chicago, and, possibly, financial information relevant to damages should such information

become relevant for their defense.

13) Defendant Charles Barry, Star No. 49970, 3510 S. Michigan Ave., Chicago, Illinois, may
be contacted through his counsel only. This individual may have knowledge or information
regarding the incident that is the subject of this lawsuit, including but not limited to the arrest of
LUMAR, the arrest warrant issued by Lee County, their observations and contact with LUMAR,
any reports they authored or assisted with authoring, their underslanding and memory of the
training provided by the City of Chicago, their experience as an employee of the City of
Chicago, and, possibly, financial information relevant to damages should such information

become relevant for their defense.

14) Defendant Kimoni Peals, 3510 S. Michigan Ave., Chicago, Illinois, may be contacted
through his counsel only. This individual may have knowledge or information regarding the
incident that is the subject of this lawsuit, including but not limited to the arrest of LUMAR, the
arrest warrant issued by Lee County, their observations and contact with LUMAR, any reports
they authored or assisted with authoring, their understanding and memory of the training
provided by the City of Chicago, their experience as an employee of the City of Chicago, and,
possibly, financial information relevant to damages should such information become relevant for

their defense.
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15) Plaintiff Lisa Alcorn, who shall be contacted through her counsel of record. This
individual may have knowledge regarding the allegations contained in the Complaint, any
alleged damages she claims that Tyler Lumar suffered in connection with the events that are the
subject of this lawsuit, as well as all other subject matter set out in documents produced in
discovery by Plaintiff and Defendants, including LUMAR’s criminal history and convictions, if

any,

16) Defendant T. Wlodarski, Cook County Sheriff's Office. This individual may be contacted
through his counsel only, This individual may have knowledge of the events that are the subject
of this lawsuit as well as all other subject matter set out in documents produced in discovery by

Plaintiff and Defendants.

17)Cook County Sheriffs Department Lieutenant A. Lewis, this individual may be
contacted through the legal department for the Cook County Sheriff's Department. This
individual may have knowledge regarding LLUMAR’s alleged possession of narcotics during the

processing in the bullpen area at or near the location of the criminal courthouse.

18) Chicago Police Detective Marc Leavitt, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge or information
regarding the investigation following LUMAR's suicide attempt, including any findings,
observations, statements made, evidence recovered, and relevant reports or other documents

created following LUMAR’s suicide attempt.

19) Chicago Police Detective William Fiedler, this individual may be contacted through
counsel for Defendant City of Chicago only. This individual may have knowledge or information
regarding the investigation following LUMAR’s suicide attempt, including any findings,
observations, statements made, evidence recovered, and relevant reports or other documents

created following LUMAR’s suicide attempt.
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20) Chicago Police Officer Danic! McCall, this individual may be contacted through mune
for Defendant City of Chicago only. This individual may have knowledge or information
regarding the investigation following LUMAR’s suicide attempt, including any findings,
observations, statements made, evidence recovered, and relevant reports or other documents

created following LUMAR’s suicide attempt.

21)Chicago Police Officer Greg Roszkowski, this individual may be contacted through
counsel for Defendant City of Chicago only. This individual may have knowledge or information
regarding the investigation following LUMAR’s suicide attempt, including any findings,
observations, statements made, evidence recovered, and relevant reports or other documents

created following LUMAR ’s suicide attempt.

22) Chicago Police Department employee Jonathan Errum, this individual may be contacted
through counsel for Defendant City of Chicago only. This individual may have knowledge or
information regarding LUMAR’s suicide attempt, including but not limited to their actions and

observations following LUMAR’s suicide attempt and statements made at that time.

23) Chicago Police Officer Brigid Menoni, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge or information
regarding LUMAR’s suicide attempt, including but not limited to their actions and observations

following LUMAR’s suicide attempt and statements made at that time.

24) Chicago Police Officer John Granat, this individual may be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge or information regarding
LUMAR’s time in custody of the Chicago Police Department, LUMAR’s suicide attempt,
including but not limited to their actions and observations following LUMAR’s suicide attempt

and statements made at that time.
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25) Oak Park Police Officer R. Zasiebida, Star 417, this individual may be contacted through
the legal department of the Oak Park Police Department. This individual may have knowledge of
LUMAR’s prior arrest and all other subject matter set out in related documents produced in

discovery by Plaintiff and Defendants.

26) Oak Park Officer M. Scott, Star 342, this individual may be contacted through the legal
department of the Oak Park Police Department. This individual may have knowledge, of
LUMAR’s prior arrest and all other subject matter set out in related documents produced in

discovery by Plaintiff and Defendants.

27) Chicago Police Officer Thomas Gannon, this individual may be contacted through
counsel for Defendant City of Chicago only. This individual may have knowledge of LUMAR’s
arrest for narcotics possession on August 19, 2016 and all other subject matter set out in related

documents produced in discovery by Plaintiff and Defendants.

28) Chicago Police Evidence Technician Angelo Marconi, this individual may be contacted
through counsel for Defendant City of Chicago only. This individual may have knowledge
regarding recovery of evidence following LUMAR’s suicide attempt and relevant documents of

the evidence recovery and scene processing.

29) Chicago Police Evidence Technician Elizabeth Vera, this individual may be contacted
through counsel for Defendant City of Chicago only. This individual may have knowledge
regarding recovery of evidence following LUMAR’s suicide attempt and relevant documents of

the evidence recovery and scene processing.

30) Chicago Police Sergeant Thomas Mitchell, this individual may be contacted through
counsel for Defendant Cily of Chicago only. This individual may have knowledge regarding the
scene of LUMAR?’s suicide attempt and investigation into the suicide attempt.

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31) Chicago Police Sergeant Erik Madsen, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge regarding the scene of

LUMAR’s suicide attempt and investigation into the suicide attempt.

32) Chicago Police Officer Michael Bertini, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge regarding the scene of

LUMAR’s suicide attempt and investigation into the suicide attempt.

33) Chicago Police Officer Patrick Cradick, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge regarding the scene of

LUMAR?’s suicide attempt and investigation into the suicide attempt.

34) Chicago Police Officer Roger Bay, this individual may be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding the scene of

LUMAR’s suicide attempt and investigation into the suicide attempt.

35) Chicago Police Officer Walter Delgado, this individual may be contacted through counsel
for Defendant City of Chicago only. This individual may have knowledge regarding LUMAR’s
physical and mental condition prior to LUMAR’s suicide attempt on August 19, 2016.

36) Chicago Police Officer Kevin Wortham, this individual may be contacted through
counsel for Defendant City of Chicago only, This individual may have knowledge regarding
LUMAR’s physical and mental condition prior to LUMAR’s suicide attempt on August 19,
2016.

37) Chicago Police Department employee A. McGuire, this individual may be contacted

through counse] for Defendant City of Chicago only, This individual may have knowledge
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regarding LUMAR’s physical and mental condition prior to LUMAR’s suicide attempt on
August 19, 2016.

38) Chicago Police Department employee R. Kincaid, this individual may be contacted
through counsel for Defendant City of Chicago only. This individual may have knowledge
regarding LUMAR’s physical and mental condition prior to LUMAR’s suicide attempt on
August 19, 2016.

39) Chicago Fire Department paramedic Luis Velez, to be contacted through counsel for
Defendant City of Chicago only: This individual may have knowledge regarding medical
treatment provided to LUMAR in the District 11 lockup.

40) Chicago Fire Department paramedic Tristan Lopez, to be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding medical
‘treatment provided to LUMAR in the District 11 lockup.

41) Chicago Fire Department Lieutenant Marlon Woods, to be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding medical
treatment provided to LUMAR in the District 11 lockup.

42)Chicago Fire Department firefighter Wade, to be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding medical
treatment provided to LUMAR in the District 11 lockup.

43) Chicago Fire Department firefighter Orroyo, to be contacted through counsel for

Defendant City of Chicago only. This individual may have knowledge regarding medical

treatment provided to LUMAR in the District 11 lockup.

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44) Chicago Fire Department firefighter unknown name, employee number 21216, to be
contacted through counsel for Defendant City of Chicago only. This individual may have

knowledge regarding medica] treatment provided to LUMAR in the District 11 lockup.

45) Casey Tencate, address currently unknown, this individual may have knowledge relating
to LUMAR’ prior arrest.

46) Lauren Barrett, address currently unknown, this individual may have knowledge relating
to LOMAR’s prior arrest.

47) Amritpal Jawanda, MD, c/o Madison Family Health Center, 388 W,:Madison, Chicago,
Illinois. This individual may have knowledge regarding LUMAR’s conduct prior to his arrest on
August 18, 2016.

48) Sukhveer Wahi, MD, c/o: Madison Family Health Center, 388 W. Madison, Chicago,
Illinois, This individual may have knowledge regarding LUMAR’s conduct prior to his arrest on
August 18, 2016.

49)Dexter Reed, security, c/o Madison Family Health Center, 388 W. Madison, Chicago,
Illinois, This individual may have knowledge regarding LUMAR’s conduct prior to his arrest on
August 18, 2016.

50) Katie Simmons, c/o Madison Family Health Center, 388 W. Madison, Chicago, Hlinois.
This individual may have knowledge regarding LUMAR’s conduct prior to his arrest on August
18, 2016.

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51) Maria Vega, c/o Madison Family Health Center, 388 W. Madison, Chicago, Illinois, This
individual may have knowledge regarding LUMAR’s conduct prior to his arrest on August 18,
2016.

52) Monique Zkson, c/o Madison Family Health Center, 388 W. Madison, Chicago, Ilinois.
This individual may have knowledge regarding LUMAR’s conduct prior to his arrest on August
18, 2016.

53) Erica Cook, c/o Madison Family Ilealth Center, 388 W. Madison, Chicago, Illinois. This
individual may have knowledge regarding LUMAR’s conduct prior to his arrest on August 18,
2016.

54) Erik Spann, last known address 426 North Harding Avenue, Chicago, Illinois. This
individual may have knowledge regarding LUMAR’s suicide attempt, statements, and actions

taken immediately after LUMAR’s suicide attempt.

55) Civilian Office of Police Accountability (“COPA”) Investigator Bruce Dean, c/o COPA
1615 W, Chicago Ave., 4th Floor, Chicago, IL 60622 (312) 746-3609. During litigation of this
matter, this individual would be represenied at depositions and/or trial by a City of Chicago
Department of Law representative. This individual may have knowledge or information
regarding the investigation following LUMAR’s suicide attempt, including but not limited to
their observations and actions, reported created by IPRA/COPA, reports and documents obtained
by JPRA/COPA, witness statements, and any findings, conclusions, observations, and/or

evaluations made during the IPRA/COPA investigation.

56) COPA Investigator Chantelle Hill, c/o COPA 1615 W. Chicago Ave., 4th Floor, Chicago,
IL 60622 (312) 746-3609. During litigation of this matter, this individual would be represented at
depositions and/or trial by a City of Chicago Department of Law representative. This individual

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may have knowledge or information regarding the investigation following LUMAR’s suicide
attempt, including but not limited to their observations and actions, reported created by
IPRA/COPA, reports and documents obtaincd by IPRA/COPA, witness statements, and any
findings, conclusions, observations, and/or evaluations made during the IPRA/COPA

investigation.

57) COPA Investigator William Abbruzzese, c/o COPA 1615 W. Chicago Ave., 4th Floor,
Chicago, IL 60622 (312) 746-3609. During litigation of this matter, this individual would be
represented at depositions and/or trial by a City of Chicago Department of Law representative.
This individual may have knowledge or information regarding the investigation following
LUMAR’s suicide attempt, including but not limited to their observations and actions, reported
created by IPRA/COPA, reports and documents obtained by IPRA/COPA, witness statements,
and any findings, conclusions, observations, and/or evaluations made during the JTPRA/COPA

investigation.

58) COPA Investigator Joshua Hunt, c/o COPA 1615 W. Chicago Ave., 4th Floor, Chicago,
IL 60622 (312) 746-3609. During litigation of this matter, this individual would be represented at
depositions and/or trial by a City of Chicago Department of Law representative. This individual
may have knowledge or information regarding the invesligation following LUMAR’s suicide
attempt, including but not limited to their observations and actions, reported created by
IPRA/COPA, reports and documents obtained by IPRA/COPA, witness statements, and any
findings, conclusions, observations, and/or evaluations made during the IJPRA/COPA

investigation.

59)COPA Investigator Catherina Oliveri, c/o COPA 1615 W. Chicago Ave., 4th Floor,
Chicago, IL 60622 (312) 746-3609. During litigation of this matter, this individual would be
represented at depositions and/or trial by a City of Chicago Department of Law representative.
This individual may have knowledge or information regarding the investigation following

LUMAR’s suicide attempt, including but not limited to their observations and actions, reported

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created by IPRA/COPA, reports and documents obtained by IPRA/COPA, witness statements,
and any findings, conclusions, observations, and/or evaluations made during the IPRA/COPA

investigation.

60) COPA Investigator Kefvin Lett, c/o COPA 1615 W. Chicago Ave., 4th Floor, Chicago,
IL 60622 (312) 746-3609. During litigation of this matter, this individual would be represented at
depositions and/or trial by a City of Chicago Department of Law representative. This individual
may have knowledge or information regarding the investigation following LUMAR’s suicide
attempt, including but not limited to their observations and actions, reported created by
IPRA/COPA, reports and documents obtained by IPRA/COPA, witness statements, and any
findings, conclusions, observations, and/or evaluations made during the IPRA/COPA

investigalion,

61) COPA Investigator Linda Franco, c/o COPA 1615 W. Chicago Ave., 4th Floor, Chicago,
IL 60622 (312) 746-3609. During litigation of this matter, this individual would be represented at
depositions and/or trial by a City of Chicago Department of Law representative. This individual
may have knowledge or information regarding the investigation following LUMAR’s suicide
attempt, including but not limited to their observations and actions, reported created by
IPRA/COPA, reports and documents obtained by IPRA/COPA, witness statements, and any
findings, conclusions, observations, and/or evaluations made during the IPRA/COPA

investigation.

62) COPA Investigator Adam Pfeifer, c/o COPA 1615 W. Chicago Ave., 4th Floor, Chicago,
IL. 60622 (312) 746-3609. During litigation of this matter, this individual would be represented at
depositions and/or trial by a City of Chicago Department of Law representative. This individual
may have knowledge or information regarding the investigation following LUMAR’s suicide
attempt, including but not limited to their observations and actions, reported created by
IPRA/COPA, reports and documents obtained by IPRA/COPA, witness statemenis, and any
findings, conclusions, observations, and/or evaluations made during the IPRA/COPA
investigation,

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63) COPA Investigator Daniel Kobel, c/o COPA 1615 W. Chicago Ave., 4th Floor, Chicago,
IL 60622 (312) 746-3609. During litigation of this matter, this individual would be represented at
depositions and/or trial by a City of Chicago Department of Law representative. This individual
may have knowledge or information regarding the investigation following LUMAR’s suicide
attempt, including but not limited to their observations and actions, reported created by
[PRA/COPA, reports and documents obtained by IPRA/COPA, witness statements, and any
findings, conclusions, observations, and/or evaluations made during the IPRA/COPA

investigation.

64) COPA Investigator S. Carter, c/o COPA 1615 W. Chicago Ave., 4th Floor, Chicago, IL
60622 (312) 746-3609. During litigation of this matter, this individual would be represented at
depositions and/or trial by a City of Chicago Department of Law representative. This individual
may have knowledge or information regarding the investigation following LUMAR’s suicide
attempt, including but not limited to their observations and actions, reported created by
IPRA/COPA, reports and documents obtained by IPRA/COPA, witness statements, and any
findings, conclusions, observations, and/or evaluations made during the TPRA/COPA

investigation.

65)Chicago Police Chief Wayne M. Gulliford, to be contacted through counsel for
Defendant City of Chicago only. This individual may have knowledge regarding the Chicago
Police Department policy as to holding arrestees detained on arrest warrants issued outside of

Cook County.

66) Amar Singh, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, 11. 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide altenipt.

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67) Laila Robateau, RN, c/o Mt. Sinai Hospital in Chicago, Ilinois, California and 15th
Street, Chicago, 1L 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment

following LUMAR’s suicide attempt.

68) Amir Vafa, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, IL, 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following
LUMAR ’s suicide attempt.

69) Jonathan Hwee, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide atlempt.

70) Alan Matson, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide attempt.

71) Ivica Vucic, MD, c/o Mt. Sinai Hospital in Chicago, [llinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide attempt.

72) Amar Shah, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide attempt,

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73) Jeffrey Yu, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’ suicide attempt.

74) Adarsh Shukla, c/o Mt. Sinai Hospital in Chicago, UWlinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR ’s medical treatment following
LUMAR’s suicide attempt.

75) Christine Eden, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th
Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai’ legal
department. This individual may have knowledge regarding LUMAR’s medical treatment
following LUMAR’s suicide attempt.

76) Anthony Castelli, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following
LUMAR’s suicide attempt.

77) Laura Kozak, RN, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide attempt.

78) Sandeep Khosla, MD, c/o Mt. Sinai Hospital in Chicago, Hlinois, California and 15th
Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal
department, This individual may have knowledge regarding LUMAR’s medical treatment

following LUMAR ’s suicide attempt.

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79) Mir Yadullahi, MD, c/o Ml. Sinai Hospital in Chicago, Ilinois, California and 15th
Street, Chicago, 1L 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment

following LUMAR’s suicide attempt.

80) Andrew Bokarius, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th
Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment
following LUMAR’s suicide attempt.

81) Mark Chottiner, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide attempt.

82) Valeria Cooper, PA, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th
Street, Chicago, I. 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment
following LUMAR’s suicide attempt.

83) Stavros Maltezos, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th
Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment
following LUMAR’s suicide attempt.

84) Keenan Wanamaker, MD, c/o Mt. Sinai Hospital in Chicapo, Illinois, California and 15th
Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment

following LUMAR’s suicide attempt.

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85) Alin Cheran MD, c/o Mt. Sinai Hospital in Chicago, IMinois, Califormia and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’ suicide attempt.

86) Nancy Sibigtroth, MD, c/o Mt. Sinai Hospital in Chicago, HWlinois, California and 15th
Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment
following LUMAR’s suicide attempt.

87) Kukoyi Omobolawa, MD, c/o Mt. Sinai Hospital in Chicago, IUJinois, California and 15th
Street, Chicago, IL 60608, this individual] may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment
following LUMAR’s suicide attempt.

88) William Brigode, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th
Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal
department, This individual may have knowledge regarding LUMAR’s medical treatment
following LUMAR’s suicide attempt.

89) Sarah Bacje Wiig, PA, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th
Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment

following LUMAR’s suicide attempt.

90) Albert Leung, MD, c/o Mt. Sinai Hospital in Chicago, Iinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide attempt.

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91) Taral Doshi, MD, c/o Mt. Sinai Hospital in Chicago, Ulinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR?’s suicide attempt.

92) Gary Merlott, MD, c/o Mt. Sinai Hospital in Chicago, I!inois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide attempt.

93) Michael Rechitsky, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th
Street, Chicago, I. 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment

following LUMAR’s suicide attempt.

94) Ryan Sullivan; MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th
Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment
following LUMAR’s suicide attempt.

95) Steven Flynn, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following
LUMAR’s suicide attempt.

96) Alan Hecht, MD, c/o Mt. Sinai Hospital in Chicago, Nlinois, California and 15th Street,
Chicago, [L, 60608. this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide attempt.

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97) David DeBruin, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, JL 60608, this individual may be contacted through the Mt. Sinai Jegal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide attempt.

98) Richard Kim, MD, c/o Mt. Sinai Hospital in Chicago, Hlinois, Califomia and 15th Street,
Chicago, JL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following

LUMAR’s suicide attempt..

99) Kevin Frame, MD, c/o Mt. Sinai Hospital in Chicago, Illinois, California and 15th Street,
Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal department.
This individual may have knowledge regarding LUMAR’s medical treatment following
LUMAR’ suicide attempt.

100) Sarah Rowe, MD, c/o Mt. Sinai Hospital in Chicago, Mlinois, California and 15th
Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment
following LUMAR’s suicide attempt.

101) Anthony Thomas, MD, c/o Quest Diagnostics Wood Dale, 1355 Mittel
Boulevard, Wooddale, IL. This individual may be contacted through Quest Diagnostics, This
individual may have knowledge regarding medical testing performed on LUMAR following

LUMAR’ suicide attempt.

102) Erika Ferguson, MD c/o Mt. Sinai Hospital in Chicago, IJlinois, California and
[5th Street, Chicago, IL 60608, this individual may be contacted through the Mt. Sinai legal
department. This individual may have knowledge regarding LUMAR’s medical treatment prior

to LUMAR’s suicide attempt.

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103) Chief Judge Timothy C. Evans, Circuit Court of Cook County, to be contacted,
through legal department of the Circuit Court of Cook County, Judge Evans may have
knowledge regarding his order stating that all individuals arrested by the Chicago Police
Department on an arrest warrant issued by an Illinois state court outside of Cook County shall be

required to appear in bond court prior to release.

104) Representative from Circuit Court of Lee County, to be contacted through legal
department of Circuit Court of Lee County. This individual may have knowledge regarding the
issuance of LUMAR’s Lee County arrest warrant and would be expected to testify that on

August 18, 2016, LUMAR’s Lee County arrest warrant was valid.

105) Representative from the Office of Emergency Management and Communication
(“OEMC”), to be contacted through counsel for Defendant City of Chicago only. This individual
would have knowledge regarding OEMC documents and recordings and would lay foundation
for OEMC documents and/or OEMC recordings.

106) Personnel from the Chicago Police Department, to be contacted through counsel
for Defendant City of Chicago only. This individual(s) would be called to lay foundation for
and/or to testify all Chicago Police Department records produced in this case, including, but not

limited to, police reports, photographs, relevant individuals’ criminal backgrounds, rap sheets,,

107) Representative(s) from the City of Chicago Police Department, to be formally
designated at a later time and to be contacted through counsel for Defendant City of Chicago
only. This individual or individuals would be presented as a corporate designate(s) to testify as to
official Chicago Police Department policy on specific subjects, including, but not limited to,
General Orders and Special Orders of the Chicago Police Department such as processing

arrestees, transportation of arrestees to different facilities, and general lockup procedures,

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108) Representative(s) from the City of Chicago Police Department, to be formally
designated at a later time and to be contacted through counsel for Defendant Cily of Chicago
only. This individual or individuals would be presented as a corporate designate(s) to testify as to

relevant training provided to City of Chicago employees.

109) Representative(s) from the City of Chicago Police Department, to be formally
designated at a later time and to be contacted through counsel for Defendant City of Chicago
only. This individual or individuals would be presented as a corporate designate(s) to testify as to

investigations into in-custody deaths of arrestees.

110) Representative(s) from the City of Chicago, to be formally designated at a later
time and to be contacted through counsel for Defendant City of Chicago only. This individual or
individuals would be presented as a corporate designate(s) to testify as to investigations into

allegations involving misconduct on the part of City of Chicago Police Department employees.

Investigation continues and this response is not intended to be a final list of possible
witnesses in this matter. Defendants reserve the right to supplement this response as the
investigation continues and pursuant to the Northern District Court of Mlinois’ Standing Order
Regarding Mandatory Initial Discovery Pilot Project. Defendants also reserve the right to call

any witnesses disclosed by Plaintiff at trial in this matter.

2. State the names and, if known, the addresses and telephone numbers of all persons who
you believe have given written or recorded statements relevant to any party’s claims or defenses.
Unless you assert a privilege or work product protection against disclosure under applicable law,
attach a copy of each such statement if it is in your possession, custody, or control. If not in your
possession, custody, or control, state the name and, if known, the address and telephone number

of each person who you believe has custody of a copy.

RESPONSE:

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At this time, numerous witnesses have piven statements relevant to any party’s claims or
defenses. Copics of the statements are being provided to Plaintiff and are contained within the

documents produced as bates FCRL 1-21, 31-428, 432-437, 559-570, 571-575, 1271.

Investigation continues and this response is not intended to be a final list of people who
have given written or recorded statements relevant to any party’s claims or defenses. Defendants
reserve the right to supplement this response as the investigation continues and pursuant to the
Northern District Court of Illinois’ Standing Order Regarding Mandatory Initial Discovery Pilot
Project. Defendants also reserve the right to call any witnesses disclosed by Plaintiff at trial in

this matter,

iB) List the documents, electronically stored information (“ESI”), tangible things, land, or
other property known by you to exist, whether or not in your possession, custody or control, that
you believe may be relevant to any party’s claims or defenses. To the extent the volume of any
such materials makes listing them individually impracticable, you may group similar documents
or ESI] into categories and describe the specific categories with particularity. Include in your
response the names and, if known, the addresses and telephone numbers of the custodians of the
documents, ESI, or tangible things, land, or other property that are not in your possession,
custody, or control. For documents and tangible things in your possession, custody, or control,
you may produce them with your response, or make them available for inspection on the date of

the response, instead of listing them. Production of ES] will occur in accordance with paragraph

 

 

C.2 below.
RESPONSE:
Defendants refer to the following documents, which are being produced on November 17,
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Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 95 of 107 PagelD #:2495

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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This disclosure is not intended to be a final list of possible documents to be used in this
matter. Defendant reserves the right to supplement this disclosure as the investigation continues
and pursuant to the Northern District Court of Illinois’ Standing Order Regarding Mandatory

Initial Discovery Pilot Project.

4, For each of your claims or defenses, state the facts relevant to it and the legal theories

upon which it is based.

RESPONSE:

l. Plaintiff has failed to state a claim upon which relief may be granted against Defendant
City under Federal Rule of Civil Procedure 12(b)(6). ‘The factual basis and legal theory
are included within the City’s pending motion to dismiss, decket no. 4/, and are
incorporated herein,

I], The Chicago Police Department is a non-suable entity. The factual basis and legal theory
are included within the City’s pending motion to dismiss, docket no. 4], and are
incorporated herein,

MW. = The City of Chicago is immune from the imposition of punitive damages under both state
and federal law. Moreover, under Ilinois law, the City cannot be required to indemnify
an employee for punitive damages, nor may it pay a judgment for punitive damages. 745
ILCS 10/2-102 (2014); City of Newport v. Facts Concerts, 453 U.S. 247, 271 (1981).

IV. The City of Chicago cannot be held liable under 42 U.S.C. § 1983 on a respondeat
superior theory, The factual basis and legal theory are included within the City’s pending
motion to dismiss, docket no. 41, and are incorporated hercin.

V. The City of Chicago is immune from liability for alleged constitutional deprivations
caused unless Plaintiff can show that an individual defendant employed by the City of
Chicago caused Plaintiff to suffer a constitutional injury. City of Los Angeles v, Heller,
475 U.S. 796, 799 (1986) (holding no Monell liability where no individual defendant is
liable for underlying substantive claim); Durkin y, City of Chicago, 341 F.3d 606, 615
(7th Cir. 2003) (same). The factual basis for this defense is that Tyler Lumar attempted to

commit suicide without any City of Chicago employee being put on actual notice that

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Tyler Lumar was at risk of suicide or self-harm, Absent this notice, no City of Chicago
employee can be liable under 42 U.S.C. § 1983. See, e.g. Saucedo vy. City of Chicago, No.
11 C $868, 2015 WL 3643417 (N.D.UI. June 11, 2015) (Zagel, J.). The factual basis and
legal theory are also included within the City’s pending motion to dismiss, docket no. 41,
and are incorporated herein.

VI. To the extent that Tyler Lumar failed to mitigate any of his claimed injuries or damages,
any verdict or judgment obtained by Plaintiff must be reduced by application of the
principle that Tyler Lumar had a duty to mitigate, commensurate with the degree of
failure to mitigate attributed to Tyler Lumar by the jury in this case. The factual basis for
this defense is that Tyler Lumar failed to mitigate his potential damages relating to the
arrest on an outstanding warrant by, according to the Cook County Sheriff's Department,
being in possession of illegal narcotics, which thereby extended the time he was in
custody.

VII. To the extent any injuries or damages claimed by Plaintiff as proximately caused, in
whole or in part, by the negligent, willful and wanton and/or other wrongful conduct on
the part of the Tyler Lumar, any verdict or judgment obtained by Plaintiff must be
reduced by application of the principles of comparative fault, by an atnount
commensurate with the degree of fault aitributed to Tyler Lumar by the jury in this cause.
The factual basis for this defense is that Tyler Lumar voluntarily attempted to commit

suicide, an act which directly and entirely caused his physical damages.
5. Provide a computation of each category of damages claimed by you, and a description of
the documents or other evidentiary material on which it is based, including materials bearing on
the nature and extent of the injuries suffered. You may produce the documents or other
evidentiary materials with your response instead of describing them.

RESPONSE:

Not applicable to Defendant City of Chicago.

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6. Specifically identify and describe any insurance or other agreement under which an
insurance business or other person or entity may be liable to satisfy all or part of a possible
judgment in the action or to indemnify or reimburse a party for payments made by the party to
satisfy the judgment. You may produce a copy of the agreement with your response instead of

describing it.

RESPONSE:

On August 19, 2016, the City of Chicago was self-insured for settlements and judgments up to
and including $20 million per occurrence. For settlements or judgments covered by the City’s
excess liability policy in excess of $20 million, the City has the following coverage up to $55
million:

Argo Re Limited
$5,000,000 per occurrence/aggregate, where applicable

Allied World Assurance Company, Ltd.
$5,000,000 per occurrence/$10,000,000 aggregate

Argo Re Limited
$10,000,000 per occurrence/agegregate

Westchester Surplus Lines Insurance Company
$15,000,000 per occurrence/aggregate, where applicable

Argo Re Limited and Allied World Assurance Company, Ltd (quote share)
$15,000,000 per occurrence/$15,000,000 aggregate

First Specialty Insurance Corporation
$5,000,000 per occurrence/aggregate, where applicable

November 17, 2017 Respectfully submitted,
/s/ Shawn _W. Barnett

Shawn W. Barnett
Attorney No. 6312312

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Devlin Schoup, Senior Counsel

Shawn Barnett, Assistant Corporation Counsel
Allison Romelfanger, Assistant Corporation Counsel
Assistant Corporation Counsel

City of Chicago, Department of Law

30.N, LaSalle Sireet, Suite 900

Chicago, Mlinois 60602

(312) 744-0742

Counsel for Defendant City of Chicago

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
Llaa Alcorn, as Plenary Guardian }
of the Estate of Tyler Lumar )
) Case No, 17 C 5859
Plaintiff }
¥. ) Judge Kendal!
}
The City of Chicago, et al, } Magistrate Judge Finnegan
)
Defendants, )

CERTIFICATION OF DEFENDANT CITY OF CHICAGO's
RESPONSES TO MANDATORY INITIAL DISCOVERY

Under penaliles as provided by law pursuant to 28 U.S.C. §1746, I Sergeant Robert
Flores, assigned to the Office of Legal Affairs, Chicago Police Department, certify that the
foregoing Defendant City Of Chieayo's Rosponses ‘To Mandatory Initial Discovery are based on
knowledge, information, and: belief formed after reasonable inquiry into doouments and
information which have been assembled by authorized employees and counsel of the City of
Chicago; and that | am jnformed-and believe that the statements sot forth in the foregoing are

comiplote and correct as of November 17, 2017.

Sergeant Robert Flores
Office of Legal Affairs
Chicago Police Department
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
Lisa Alcorn, as Plenary Guardian )
of the Estate of Tyler Lumar )
) Case No, 17 C 5859
Plaintiff )
Vv. ) Judge Kendall
)
The City of Chicago, et al. ) Magistrate Judge Finnegan
)
Defendants. )

CERTIFICATE OF SERVICE

 

I hereby certify that [ have caused a true and correct copy of Defendant City Of
Chicago's Responses ‘To Mandatory Initial Discovery, to be delivered by email and U.S. Mail,
postage prepaid, to the individuals named below at the address on November 17, 2017.

Eileen M. O’Connor
O’Connor Law Group LLC

140 S. Dearborn, Suite 320 Caroline Fronezak
Chicago, IL 60603 Jason Marx
Counsel for Plaintiff Jessica Gomez-Feie

City of Chicago Department of Law
Kevin Kocim 30N, LaSalle, Suite 900
Anthony Zecchin Chicago, IL 60602
Cook County State’s Attorney’s Office Counsel for Defendants Warren, Vega,
500 Daley Center : Esteba, Conner, Peals, Ielwink-Masters,
50 West Washington Jones, Alexander, Vinson, Lasch, Geyer,
Chicago, IL. 60602 O'Donnell, Gartner, Barry

Counsel for Defendants Dart and Wlodarski

/s/ Shawn W. Barnett

Shawn W. Barnett
Attorney No. 6312312

 

Devlin Schoop, Senior Counsel .

Shawn Barnett, Assistant Corporation Counsel
Allison Romelfanger, Assistant Corporation Counsel
City of Chicago, Department of Law

30 N, LaSalle Street, Suite 900

Chicago, Illinois 60602

(312) 744-0742 ,

Counsel for Defendant City of Chicago
Case: 1:17-cv-05859 Document #: 294-1 Filed: 11/19/20 Page 102 of 107 PageID #:2502

EXHIBIT G
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i EXHIBIT

14 16
1 agency. 1 Q. In the occasions in which you have
’ Q. Outside agency is what type of 2. been involved or had an experience where an arrestee
3 training? 3 or an inmate had made some sort of statement that
4 A, Firearms. 4 they were suicidal, what is the Chicago Police
5 Q. Have you ever been trained -- received 5 policy in terms of what you are required to do?
6 any training in suicide prevention? 6 MS. DAVENPORT: I'm just going to
7 A. Yes. 7 object inasmuch as you are asking him what
8 Q. And when? 8 the City of Chicago's policy is. He is nota
9 A. The last week of my sergeant's 9 30(b)(6). You can ask him what he did when
10 training. 10 he received those complaints.
11 Q. Where was that training held? 11 MR. POWER: Join.
12 A. The academy. 12 MS. HARRIS: Join.
13 Q. Was that, like, in some sort of office 13. BY MS. O'CONNOR:
14 space? Like, was it an office training? 14 Q. Let me back up and lay some
15 A. In the academy. 15 foundation. When you were initially sworn in as a
16 Q. Okay. Was there any -- I guess what 16 Chicago Police officer or sergeant, were you
17 I'm asking was there any sort of simulations or is 17 provided with the Chicago Police Department's
18 © this all just sort of book training and lecture 18 general orders?
19 training? 19 A. When I made sergeant, no.
20 A. Well, it's crisis intervention 20 Q. At any time in your career.
21 training. They do have some scenarios, if that is 21 A. When I was first in patrol, when I
22 what you're asking. 22 first got into the academy, when I first was hired,
23 Q. And have you ever been involved or has 23 they gave us general orders, yes.
any arrestee or inmate attempted to commit suicide 24 Q. Okay. And as a Chicago Police officer
15 17
1 on your watch? 1 and then sergeant, were you required and are you
2 MS. DAVENPORT: Object to the form of 2. required to follow the Chicago Police Department's
3 the question, scope. You can answer. 3. general orders?
4 BY THE WITNESS: 4 A. Yes.
5 A. Attempted, no. Make statements to say | 5 Q. Okay. And because you're required to
6 that they were, yes. 6 follow them, you have some knowledge of what those
7 BY MS. O'CONNOR: 7 general orders are, true?
8 Q. Okay. Have there ever been any 8 A. Yes,
9 completed suicides on your watch? 9 Q. And you have an understanding of what
10 A. Negative. Well, on my watch or while 10 those general orders require you to do for a litany
11. I'm working? 11. of different scenarios, correct?
12 Q. Well, maybe you can clarify. On your 12 MS. DAVENPORT: Objection to the form
13 watch would be when you are working, or no? 13 of that question, it's an incomplete
14 A. No. When I refer to working is when 14 hypothetical and it's vague.
15 I'm actually inside or out on the street doing my 15 BY THE WITNESS:
16 other -- my duties out on the street. You've got to 16 A. I mean, there are -- I mean, it's what
17 bea little more specific on that because I'm not 17 the policy is for certain things. Not everything is
18 sure. Because on third watch I'm sure there's been |18 cut and dry but, yes, they're provided guidelines,
19 suicides, but not necessarily while I'm working. 19 yes.
7 Q. — Okay. So when I said on your watch, I 20 BY MS. O'CONNOR:
<i meant on your watch while you are working that 21 Q. Okay. And you just told me a moment
22 watch. So that to be true, have there ever been any 22 ago that you're required to follow them. So when
23 successful completed suicides? PLAINTIFF'S I'm asking you questions oe aus certain
24 A. Not on my watch, no. scenarios what does the Chicago Police Department

 

 

 

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EXHIBIT H
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Hl BY THE WITNESS: 1 the week did this happen?
2 A, [don't recall if 1 looked at any 2 Q.  Ican tell you in a minute. Let's
3 documents or not. 3 see, what day was it? August 18th, Thursday. So
4 BY MS. O'CONNOR: 4 August 18th was a Thursday.
5 Q. How about in preparation for your 5 A. [would have still been in the 11th
6 deposition? 6 District.
7 A. [think I looked at a couple of 7 Q. Okay. All right. Now, generally
8 documents. 8 speaking, as the commanding officer of the [1th
9 Q. Do you recall what those documents 9 District did your job duty require you to stay at
10 were? 10 the district or did you go to various other areas of
11 A. One regarding an order from 11 the city, other districts? I'm just trying to get
12 Chief Gulliford who was the chief of police -- 12 an idea of what your job looked like.
13 Q. Okay. 13 MS. DAVENPORT: Object to the form of
14 A. -- in the patrol division. 14 that question.
15 Q. Anything else that you recall 15 BY THE WITNESS:
16 reviewing for a deposition? 16 A. My focus would have been the 11th
17 A. Not offhand. 17 District.
18 Q. Okay. You told me that you had been 18 BY MS. O'CONNOR:
19 transferred to headquarters days before this 19 Q. Okay. And when you say the "focus
20 incident had occurred. Do you recall what you would 20 would have been the 1 1th District," what does that
21 have been doing at headquarters specifically on 21 mean?
22 August 18th of 2016? 22 A. Based off your question, it's
23 A. I believe if you had a calendar I can 23 foreseeable for me to go to the 10th District or
24 narrow it down a little bit, but the -- what day of 24 bordering districts to talk to the district
Page 19 Page 20
1 commanders, tac lieutenants, so on and so forth. 1 MS. DAVENPORT: Just object to the
2 Q. Who at the 11th District in terms of 2 form of the question. If you know.
3 rank or position would you be the supervisor to? 3 BY THE WITNESS:
4 A. Everyone that's assigned to the 1 {th 4 A. Was he assigned to the 11th District?
5 District. 5 BY MS. O'CONNOR:
6 Q. Okay. So that would include the desk 6 Q. Well, if I direct your attention to
7 sergeants? 7 Exhibit 152.
8 A. Correct. 8 MS. DAVENPORT: This says 152A.
9 Q. Would that include the lockup 9 MS. O'CONNOR: That will work.
10 personnel? 10 MS. DAVENPORT: Okay.
11 A. Correct. 11 MS. O'CONNOR: 152A.
12 Q. Would that include the civilian 12 MS. DAVENPORT: Are you done with 190?
13 employees that work at the 1 1th District? 13 MS. O'CONNOR: Yes.
14 A. Correct. 14 BY MS. O'CONNOR:
15 Q. Would that include arresting officers 15 Q. Directing your attention to the last
16 that brought arvestees to the 11th District? 16 page, the first arresting officer is identified as a
17 MS. DAVENPORT: Object to the form of 17 D.E. Warren, second arresting officer is identified
18 that question, incomplete hypothetical. 18 as aC, Vega. From review of 152, Deputy Chief, are
19 BY MS. O'CONNOR: 19 you able to tell me whether or not you would have
20 Q. You can answer if you understood. 20 been the supervisor to those two arresting officers
21 A. No. 21 on August 18th of 2016?
22 Q. Who, if you know, would have been 22 A. His sergeant would have been his
23 Carlos Vega's direct supervisor on August 18th of 23 immediate supervisor.
24 2016? 24 Q. _ Inany of your ranks or jobs with the

 

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1 Chicago Police Department, sir, have you ever been 1 of those hours you would be physically at the
2 involved with creating policy, general orders, 2 station as opposed to being in the field?
3 special orders? 3 A. Probably would have been four,
4 MS. DAVENPORT: Object, scope, 4 five hours maybe, within the station.
5 incomplete hypothetical and irrelevant to 5 Q. Okay. In August of 2016, do you
6 this defendant's role in this lawsuit. 6 recall how many district station supervisors were
ti BY THE WITNESS: 7 working at the 11th District?
8 A. No. 8 A. No.
9 BY MS. O'CONNOR: 9 Q. Can you approximate how many? Is it
10 Q. Okay. We were talking a moment ago 10 five? Is it ten?
11 that in your job as the commanding officer of the 11 MS. DAVENPORT: Objection, asked and
12 11th District there were occasions in which that 12 answered. You can answer again.
13 would take you out of the 11th District. But, 13 BY THE WITNESS:
14 generally speaking, would you spend most of your 14 A. Rephrase your question.
15 time at the 11th District? 15 BY MS. O'CONNOR:
16 A. Within the 1'1th District, yes, 16 Q. Sure. Do you know who Sergeant Geyer
17 Q. Okay. And when you say "within the 17 is?
18 11th District," does that mean both inside the 18 A. [heard the name before.
19 actual 1 1th District station and also within the 19 Q. Okay. If] direct your attention back
20 11th District meaning within its boundaries? 20 to 152A, on the last page it says "approving
21 A. Correct. 21 supervisor KS Geyer." Do you see where I'm reading,
22 Q. Okay. And during the daytime hours 22 sir?
23 that you were working within the | 1th District in 23 A. Yes.
24 August of 2016, can you approximate for me how many 24 Q. Okay. Based upon your review of this
Page 23 Page 24
1 arrest report, he would have been the approving 1 BY THE WITNESS:
2 supervisor for the arrest of Tyler Lumar on 2 A. There's multiple desk sergeants. Each
3 August 18th of 2016; is that correct? 3 watch has a desk sergeant so, at a minimum, three
4 A. Correct. 4 per day.
5 Q. Okay. And after reviewing the report 5 BY MS. O'CONNOR:
6 and from what you told me already, you would have 6 Q. Okay. And then in terms of
7 been considered to be Sergeant Geyer's supervisor on 7 lieutenants per watch, on average, how many
8 that day; is that correct? 8 lieutenants would be assigned to the 11th District
9 A. His lieutenant would have been his 9 for each watch?
10 immediate supervisor. 10 A. It could be from one to three.
11 Q. Can you tell by looking at the report 11 Q. If] wanted to find out who the
12 who the lieutenant was on that day? 12 lieutenant was at the 11th District on August 18th,
13 A. No. 13 2016, where would I find that information?
14 Q. Now, back to my earlier question about 14 MS. DAVENPORT: Object to the form of
15 the sergeants, specifically Sergeant Geyer. I was 15 that question.
16 asking you before about whether you could tell me 16 BY THE WITNESS:
17 approximately how many other district station 17 A. You would subpoena the records.
18 supervisors were assigned to the 11th District back 18 BY MS. O'CONNOR:
19 in August of 2016. Other than Sergeant Geyer, can 19 Q. What type of records?
20 you tell me who those sergeants may have been? 20 A. The A&As.
21 MS. DAVENPORT: Just object to the 21 Q. The A&A sheets?
22 form of your question, it also 22 A. Uh-huh.
23 mischaracterizes. 23 Q. Is that a yes?
24 24 A. Yes.

 

 

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1 Q. They went to bond court? I'm sorry. AF MS. DAVENPORT: I'm going to object as
2 A. Yeah, they went to bond court. 2 to form, fouridation as to what's, quote,
3 Q. Okay. After BOP was issued, 3 common in CPD.
4 Exhibit 173, did the desk sergeants or the police 4 MR. POWER: Join.
5 officers have some discretion as to whether they 5 BY MS. O'CONNOR:
6 could still bond certain arrestees that were 6 Q. You can answer, sir.
7 arrested on out-of-county warrants out at the 7 A. There's multiple reasons why Cook
8 station? Did they have some discretion to do that 8 County could reject an arrestee.
9 depending upon the type of offense? 9 Q. And when you were working at the 1 1th
10 A. No. 10 District as the commanding officer, would you be
11 Q. Okay. Allright. I just have a few il notified of those occasions?
12 follow-up questions on a few things. 12 A. No.
13 Oh, switching gears. Are you 13 Q. Okay. Who in terms of rank would be?
14 aware that Tyler Lumar was refused by Cook County 14 A. The desk sergeant. If we had a watch
15 Jail on August 19th of 2016 after he was alleged to 15 operation lieutenant, he would have been made aware
16 have brought in some form of contraband? 16 of it.
17 A. Yes. 17 Q. Okay. I understand from meeting and
18 Q. Okay. Was it a common occurrence that 18 deposing some of the other officers that there are
19 arrestees that were transported to bond court would 19 several reasons in which sometimes Cook County will
20 be refused by Cook County Jail and sent back to CPD? 20 refuse an inmate that's transferred there from CPD.
il MS. DAVENPORT: Can you read back that 21 But limiting my questions to those that are refused
22 question? 22 because they have been alleged to have brought in
23 (Record read as 23 contraband, how often does that happen?
24 requested.) 24 MS. DAVENPORT: Form, foundation.
Page 79 Page 80
1 MR. POWER: Join. Speculation. 1 determining whether there should be additional
2 MS. DAVENPORT: Are you asking him to 2 charges placed?
3 say as far as CPD, Cook County in its 3 MS. DAVENPORT: Object to the form of
4 entirety, how many different districts’ worth 4 that question.
5 of arrestees they bounced? 5 BY THE WITNESS:
6 BY THE WITNESS: 6 A. That individual would have been
7 A. Can you repeat the question? 7 brought back, and whatever contraband found upon him
8 BY MS. O'CONNOR: 8 or her would have been inventoried.
3 Q. Sure. So I deposed some of the Cook 9 BY MS. O'CONNOR:
10 County sheriffs, and they've testified in this case 10 Q. Okay. On the occasions in which you
11 that hundreds of times they refused to accept CPD — 11 recall this occurring, on any of those occasions was
12 they refused to accept arrestees that are 12 that arrestee charged with another crime?
13 transported from CPD because those arrestees have 13 A. Yes.
14 brought in contraband. 14 Q. Okay. And when that has occurred,
15 Are you aware of that? 15 what are the steps CPD takes to obtain the ability
16 MR. POWER: Objection, form, 16 to place additional charges?
17 foundation, misstates prior testimony. 17 A. Based off the inventory, based off the
18 MS. DAVENPORT: Join. 18 information gathered from the transporting officers
19 BY THE WITNESS: 19 that Person A found this contraband on the arrestee,
20 A. It does occur. 20 that would have been listed in the arrest report.
a1 BY MS. O'CONNOR: 21 The charges would have been changed or updated, and
22 Q. Okay. And when it does occur, what is 22 then that person would have been sent to the proper
23 the procedure at the Chicago Police Department for 23 courts.
24 receiving that arrestee back into CPD custody and 24 Q. Okay. Are there occasions in which

 

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20 (Pages 77 to 80)
INC.

312-670-0900

 
